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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
                                                  x
                                                  :   Chapter 11
   In re:                                         :
                                                  :   Case No. 12-____ (___)
   HOUGHTON MIFFLIN HARCOURT                      :
   PUBLISHING COMPANY, et al.,                    :   (Jointly Administered)
                                                  :
                               Debtors.           :
                                                  :
                                                  x



                       PREPACKAGED JOINT PLAN OF
                    REORGANIZATION OF THE DEBTORS
                UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

   Dated:   New York, New York
            May 11, 2012




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   Houghton Mifflin Harcourt Publishing Company (―HMH‖), Houghton Mifflin Harcourt
   Publishers Inc. (―HMH Publishers, Inc.‖), HMH Publishers LLC (―HMH Publishers
   LLC‖), Houghton Mifflin Holding Company, Inc., Houghton Mifflin, LLC, Houghton
   Mifflin Finance, Inc., Houghton Mifflin Holdings, Inc., HM Publishing Corp., Riverdeep
   Inc., a Limited Liability Company, Broderbund LLC, RVDP, Inc., HRW Distributors,
   Inc., Greenwood Publishing Group, Inc., Classroom Connect, Inc., ACHIEVE! Data
   Solutions, LLC, Steck-Vaughn Publishing LLC, HMH Supplemental Publishers Inc.,
   HMH Holdings (Delaware), Inc., Sentry Realty Corporation, Houghton Mifflin Company
   International, Inc., The Riverside Publishing Company, Classwell Learning Group Inc.,
   Cognitive Concepts, Inc., Edusoft, and Advanced Learning Centers, Inc., the above-
   captioned debtors and debtors in possession (collectively, the ―Debtors‖), hereby propose
   the following prepackaged joint plan of reorganization under section 1121(a) of the
   Bankruptcy Code.

   Reference is made to the Disclosure Statement accompanying the Plan, including the
   exhibits thereto, for a discussion of the Debtors’ history, business, properties, results of
   operations, projections for future operations and risk factors, together with a summary
   and analysis of the Plan. Certain documents to be entered into in connection with
   consummation of the Plan are summarized herein. To the extent any inconsistency exists
   between the summaries contained herein and the documents to be entered into in
   connection with consummation of the Plan, the terms of such documents shall control.
   All Creditors and Equity Interest holders entitled to vote on the Plan are encouraged to
   consult the Disclosure Statement, including the documents attached thereto as exhibits,
   and to read the Plan carefully before voting to accept or reject the Plan.

                                                I.

                   DEFINITIONS AND CONSTRUCTION OF TERMS

                  A.      Definitions.

   Unless otherwise defined herein, or the context otherwise requires, the following terms
   shall have the respective meanings set forth below:

   10.5% Indenture Trustee                means The Bank of New York Mellon Trust
                                          Company, N.A. and any successor thereto in its
                                          capacity as indenture trustee under the 10.5%
                                          Notes Indenture.

   10.5% Notes                            means the 10.5% Senior Secured Notes due 2019
                                          issued pursuant to the 10.5% Notes Indenture.




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   10.5% Notes Claim                  means all Claims in respect of the 10.5% Notes
                                      (including interest accrued thereon as of the
                                      Petition Date) other than the Indenture Trustee
                                      Expenses.

   10.5% Notes Indenture              means the Indenture (as amended, supplemented,
                                      restated or otherwise modified), dated as of May
                                      26, 2011 among The Bank of New York Mellon
                                      Trust Company, N.A., as Trustee and Collateral
                                      Agent, Houghton Mifflin Harcourt Publishers Inc.,
                                      Houghton Mifflin Harcourt Publishing Company
                                      and the Guarantors named on the signature pages
                                      thereto

   Adequate Protection Payments       means the payments to the Senior Creditors as
                                      adequate protection for, among other things, the
                                      priming of their liens, any diminution in value of
                                      the collateral securing their Claims and the
                                      imposition of the automatic stay, pursuant to
                                      sections 105, 361 and 364 of the Bankruptcy Code,
                                      in the aggregate amount of $69.7 million in Cash,
                                      which will be (i) allocated 6.2% to holders of the
                                      First Lien Revolver Claims, 67.6% to holders of
                                      the First Lien Term Loan Claims and 26.2% to
                                      holders of the 10.5% Notes Claims and (ii)
                                      indefeasibly payable upon entry of the Interim DIP
                                      Order.

   Administrative Claim               means any right to payment constituting a cost or
                                      expense of administration of the Chapter 11 Cases
                                      of a kind specified under section 503(b) of the
                                      Bankruptcy Code and entitled to priority under
                                      section 507(a)(1), 507(b) or 1114(e)(2) of the
                                      Bankruptcy Code, including, without limitation,
                                      any actual and necessary costs and expenses of
                                      preserving the Estates, any actual and necessary
                                      costs and expenses of operating the Debtors’
                                      businesses, any indebtedness or obligations
                                      incurred or assumed by the Debtors in Possession
                                      in connection with the conduct of their businesses,
                                      including, without limitation, for the acquisition or
                                      lease of property or an interest in property or the
                                      rendition of services, all valid and existing
                                      reclamation claims, all compensation and
                                      reimbursement of expenses to the extent awarded
                                      by the Court under sections 330, 331 or 503 of the
                                      Bankruptcy Code, any fees or charges assessed

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                                    against the Debtors’ Estates under section 1930 of
                                    title 28 of the United States Code, and all
                                    reasonable fees and expenses incurred by the
                                    Informal Creditor Group Professionals, pursuant to
                                    the terms of their respective prepetition
                                    engagement letters, each of the foregoing only to
                                    the extent not paid as adequate protection.

   Allowed                          means, with reference to any Claim or Equity
                                    Interest, (a) any Claim against or Equity Interest in
                                    any of the Debtors that has been listed by the
                                    Debtors in the Schedules, as such Schedules (if
                                    filed) may have been amended by the Debtors
                                    from time to time in accordance with Bankruptcy
                                    Rule 1009, as liquidated in amount and not
                                    disputed or contingent, and with respect to which
                                    no contrary proof of claim or interest has been
                                    filed, (b) any Claim or Equity Interest specifically
                                    allowed under the Plan or the Confirmation Order,
                                    (c) any Claim or Equity Interest that is not
                                    Disputed, (d) any Claim or Equity Interest, the
                                    amount or existence of which, if Disputed, has
                                    been determined or allowed by a Final Order, or
                                    (e) any Claim or Equity Interest as to which no
                                    objection to the allowance thereof has been filed;
                                    provided, however, that the term Allowed, with
                                    reference to any Claim, shall not include interest
                                    on such Claim from and after the Petition Date
                                    unless otherwise expressly provided for in this
                                    Plan.

   Amended and Restated Governing   means with respect to each of the Reorganized
   Documents                        Debtors, such entity’s amended and restated
                                    certificate of incorporation and bylaws, or
                                    operating agreement, as the case may be, which
                                    will be in form and substance acceptable to the
                                    Requisite Participating Lenders and be in effect on
                                    the Effective Date, and shall be in substantially the
                                    form contained in the Plan Supplement.

   Ballots                          means the documents for accepting or rejecting the
                                    Plan, which were distributed with the Disclosure
                                    Statement to parties entitled to vote on the Plan.

   Bankruptcy Code                  means title 11 of the United States Code,
                                    11 U.S.C. §§ 101 et seq., as in effect on the
                                    Petition Date or as otherwise applicable to these

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                                    Chapter 11 Cases.

   Bankruptcy Rules                 means the Federal Rules of Bankruptcy Procedure
                                    as promulgated by the United States Supreme
                                    Court under section 2075 of title 28 of the United
                                    States Code, and local rules of the Court, as the
                                    context may require, as in effect on the Petition
                                    Date or as otherwise applicable to these Chapter
                                    11 Cases.

   Bondholder                       means a holder of 10.5% Notes.

   Business Day                     means any day not designated as a legal holiday by
                                    Bankruptcy Rule 9006(a) and any day on which
                                    commercial banks are open for business, and not
                                    authorized, by law or executive order, to close, in
                                    the City of New York, New York.

   Cash                             means cash and cash equivalents denominated in
                                    legal tender of the United States of America.

   Causes of Action                 means any and all actions, causes of action, suits,
                                    accounts, controversies, agreements, promises,
                                    rights to legal remedies, rights to equitable
                                    remedies, rights to payment and claims, whether
                                    known, unknown, reduced to judgment, not
                                    reduced to judgment, liquidated, unliquidated,
                                    fixed, contingent, matured, unmatured, disputed,
                                    undisputed, secured or unsecured and whether
                                    asserted or assertable directly or derivatively, in
                                    law, equity or otherwise, now owned or hereafter
                                    acquired by the Debtors, whether arising under the
                                    Bankruptcy Code or other federal, state or foreign
                                    law, equity or otherwise, including, without
                                    limitation, any causes of action arising under
                                    sections 510, 544, 547, 548, 549, 550, 551 or any
                                    other section of the Bankruptcy Code, and the
                                    Cash and non-Cash proceeds of any of the
                                    foregoing.

   Chapter 11 Cases                 means the chapter 11 cases commenced by the
                                    Debtors.

   Claim                            means any claim, as such term is defined in section
                                    101(5) of the Bankruptcy Code.

   Class                            means each category or group of Claims or Equity
                                    Interests as classified or designated in Article II of

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                                     the Plan.

   Co-Borrower Percentages           has the meaning set forth in Article VII.B of the
                                     Plan.

   Collateral                        means any property or interest in property of the
                                     Debtors’ estates subject to a Lien to secure the
                                     payment or performance of a Claim, which Lien
                                     has not been avoided or is not subject to avoidance
                                     under the Bankruptcy Code or is otherwise invalid
                                     under the Bankruptcy Code or applicable state law.

   Confirmation                      means ―confirmation‖ as used in section 1129 of
                                     the Bankruptcy Code.

   Confirmation Date                 means the date on which the Confirmation Order is
                                     entered on the Court’s docket.

   Confirmation Hearing              means the hearing to consider Confirmation of the
                                     Plan pursuant to section 1128 of the Bankruptcy
                                     Code, as it may be adjourned or continued from
                                     time to time.

   Confirmation Order                means the order entered by the Court confirming
                                     the Plan pursuant to section 1129 of the
                                     Bankruptcy Code, which order shall be in form
                                     and substance acceptable to the Requisite
                                     Participating Lenders and the Debtors.

   Court                             means the United States Bankruptcy Court for the
                                     Southern District of New York having jurisdiction
                                     over the Chapter 11 Cases, or any other court
                                     having jurisdiction over the Chapter 11 Cases.

   Creditor                          means ―creditor‖ as defined in section 101(10) of
                                     the Bankruptcy Code.

   Creditors’ Committee              means the official committee of unsecured
                                     creditors (if any) appointed in the Debtors’
                                     Chapter 11 Cases by the United States Trustee for
                                     Region 2, pursuant to section 1102(a) of the
                                     Bankruptcy Code, as constituted from time to
                                     time.

   Debtors                           has the meaning set forth in the introductory
                                     paragraph of the Plan.



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   Debtors in Possession              means the Debtors in their capacity as debtors in
                                      possession in the Chapter 11 Cases pursuant to
                                      sections 1107(a) and 1108 of the Bankruptcy
                                      Code.

   DIP Credit Facility                means that certain Debtor-In-Possession Credit
                                      Agreement (as amended, restated, supplemented or
                                      otherwise modified), by and among the Debtors,
                                      the DIP Credit Facility Agent and the lenders party
                                      thereto, which shall be entered into on or about the
                                      Petition Date and shall be in form and substance
                                      acceptable to the Requisite Participating Lenders
                                      and the Debtors.

   DIP Credit Facility Agent          means the administrative agent under the DIP
                                      Credit Facility.

   DIP Financing Claims               means all Claims arising under or relating to the
                                      DIP Credit Facility and all agreements and
                                      instruments relating thereto.

   DIP Lenders                        means the lenders that are parties to the DIP Credit
                                      Facility.

   DIP Motion                         means the Debtors’ Motion for an Order Pursuant
                                      to Sections 361, 363, and 364 of the Bankruptcy
                                      Code (1) Authorizing the Debtors to Obtain
                                      Postpetition Financing, (2) Authorizing Use of
                                      Cash Collateral, (3) Granting Liens and Super-
                                      Priority Administrative Expense Status,
                                      (4) Providing Adequate Protection and
                                      (5) Scheduling and Approving the Form and
                                      Method of Notice of Final Hearing, which shall be
                                      in form and substance acceptable to the Requisite
                                      Participating Lenders and the Debtors.

   DIP Order                          means the Final Order entered by the Court,
                                      granting final approval of the DIP Motion, as
                                      amended or otherwise modified and in form and
                                      substance acceptable to the Requisite Participating
                                      Lenders and the Debtors.

   Disclosure Statement               means the written offering memorandum and
                                      disclosure statement and all schedules and
                                      exhibits attached thereto that relates to the Plan, as
                                      such disclosure statement may be amended,
                                      modified or supplemented from time to time and


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                                       shall be in form and substance acceptable to the
                                       Requisite Participating Lenders and the Debtors.

   Disputed                            means, with respect to Claims or Equity Interests,
                                       any such Claim or Equity Interests (a) that is listed
                                       on the Schedules (if any) as unliquidated, disputed
                                       or contingent; (b) as to which any Debtor or any
                                       other party in interest has interposed a timely
                                       objection or request for estimation in accordance
                                       with the Bankruptcy Code and the Bankruptcy
                                       Rules or which is otherwise disputed in
                                       accordance with applicable law, which objection,
                                       request for estimation or dispute has not been
                                       withdrawn or determined by a Final Order; or (c)
                                       is not listed in the Debtors’ books or records as
                                       due and owing or outstanding.

   Distribution Record Date            means the Effective Date.

   Distributions                       means the Cash, New Common Stock, New
                                       Warrants, if any, or other distributions to be made
                                       pursuant to, and in accordance with, this Plan.

   Effective Date                      means the first Business Day on which all of the
                                       conditions specified in Article XIII.B. of the Plan
                                       have been satisfied or waived in accordance with
                                       Article XIII.C of the Plan; provided, however, that
                                       if a stay of the Confirmation Order is in effect on
                                       such date, the Effective Date will be the first
                                       Business Day after such stay is no longer in effect.

   Equity Interest                     means, excluding New Common Stock, any equity
                                       security within the meaning of section 101(16) of
                                       the Bankruptcy Code or any other instrument
                                       evidencing an ownership interest in any of the
                                       Debtors, whether or not transferable, and any right
                                       to acquire any such equity security or instrument,
                                       including any option, warrant or other right,
                                       contractual or otherwise, to acquire, sell or
                                       subscribe for any such security or instrument.

   ERISA                               has the meaning set forth in Article VIII.K.2. of
                                       the Plan.

   Estates                             means the estates of the Debtors, individually or
                                       collectively, as is appropriate in the context,
                                       created in the Chapter 11 Cases pursuant to section


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                                       541 of the Bankruptcy Code.

   Existing Equity                     means, collectively, the Existing Common Stock
                                       and the Other Holdings Equity Interests.

   Existing Equity Holders             means the holders of the Existing Equity.

   Existing Common Stock               means the common stock of HMH Holdings
                                       immediately preceding the Effective Date, par
                                       value $0.01 per share (which will be cancelled in
                                       Step 3 of the Restructuring).

   Existing Common Stockholders        means the holders of Existing Common Stock.

   Exit Facility                       means that certain Superpriority Senior Secured
                                       Debtor-in-Possession and Exit Revolving Credit
                                       Agreement and Superpriority Senior Secured
                                       Debtor-in-Possession and Exit Term Loan Credit
                                       Agreement each dated May [21], 2012, entered
                                       into, by and among the Reorganized Debtors,
                                       Citibank N.A. as administrative agent and the
                                       lenders party thereto, and all ancillary agreements,
                                       as may be amended or modified, from time to time
                                       in accordance with their terms.

   Federal Judgment Rate               means the rate of interest provided for in 28 U.S.C.
                                       § 1961, as in effect on the Petition Date.

   Fee Claims                          means an Administrative Claim under section
                                       330(a), 331 or 503 of the Bankruptcy Code for
                                       compensation of a Professional or other Person for
                                       services rendered or expenses incurred in the
                                       Chapter 11 Cases on or prior to the Effective Date
                                       (including, to the extent applicable, the reasonable
                                       non-legal expenses of the individual members of
                                       the Creditors’ Committee incurred in the discharge
                                       of their duties as members of the Creditors’
                                       Committee, but not the fees and expenses of the
                                       Informal Creditor Group Professionals).




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   Final Order                       means an order or judgment of the Court, or other
                                     court of competent jurisdiction, as entered on the
                                     docket of such court, the operation or effect of
                                     which has not been stayed, reversed, vacated or
                                     amended, and as to which order or judgment (or
                                     any revision, modification, or amendment thereof)
                                     the time to appeal, petition for certiorari, or seek
                                     review or rehearing has expired and as to which no
                                     appeal, petition for certiorari, or petition for review
                                     or rehearing was filed or, if filed, remains pending;
                                     provided, however, that the possibility that a
                                     motion may be filed pursuant to Rule 9024 of the
                                     Bankruptcy Rules or Rule 60(b) of the Federal
                                     Rules of Civil Procedure shall not mean that an
                                     order is not a Final Order.

   First Lien Administrative Agent   means Citibank, N.A., as successor in interest to
                                     Wilmington Trust FSB, as administrative agent
                                     under the First Lien Credit Agreement.

   First Lien Agent Expenses         means any reasonable fees and documented out-of-
                                     pocket costs and expenses incurred prior to or after
                                     the Petition Date by the First Lien Agents under
                                     the First Lien Credit Agreement, the
                                     reasonableness of which shall, if disputed by the
                                     Debtors, be determined by the Court. Such costs
                                     shall include, without limitation, the reasonable,
                                     documented out-of-pocket costs and expenses of,
                                     and reasonable documented unpaid legal fees
                                     actually incurred by, counsel to the First Lien
                                     Agents in connection with the Chapter 11 Cases
                                     and Distributions to the holders of First Lien Bank
                                     Claims.

   First Lien Agents                 means the First Lien Administrative Agent and the
                                     First Lien Collateral Agent.

   First Lien Bank Claims            means, collectively, the First Lien Term Loan
                                     Claims and the First Lien Revolver Claims.

   First Lien Bank Lenders           means the lenders party to the First Lien Credit
                                     Agreement.

   First Lien Collateral Agent       means Citibank, N.A., in its capacity as collateral
                                     agent under the First Lien Credit Agreement.



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   First Lien Credit Agreement       means that certain First Lien Credit Agreement
                                     dated as of December 12, 2007 among the First
                                     Lien Administrative Agent, the First Lien
                                     Collateral Agent, certain of the Debtors, and the
                                     lenders from time to time party thereto (as
                                     amended, modified, or otherwise supplemented
                                     from time to time) consisting of a term loan in the
                                     aggregate principal amount of $2.571 billion (the
                                     ―First Lien Term Loan‖) and a revolving loan in
                                     the aggregate principal amount of $235.8 million
                                     (the ―First Lien Revolving Loan‖).

   First Lien Revolver Claims        means all Claims in respect of the First Lien
                                     Revolving Loan (including interest accrued
                                     thereon as of the Petition Date) other than the First
                                     Lien Agent Expenses.

   First Lien Revolving Loan         has the meaning set forth in the definition of the
                                     First Lien Credit Agreement.

   First Lien Term Loan              has the meaning set forth in the definition of First
                                     Lien Credit Agreement.

   First Lien Term Loan Claims       means all Claims in respect of the First Lien Term
                                     Loan other than the First Lien Agent Expenses.

   Foreign Affiliates                means HMH Education Company (Ireland), HMH
                                     IP Company (Ireland), HMH Publishing Company
                                     (Ireland), Riverdeep UK Limited, HMH Consumer
                                     Company (Ireland), Houghton Mifflin Harcourt
                                     (Asia) Pte. Ltd (Singapore), Houghton Mifflin
                                     PLC (UK) and HMH Publishing Company (IOM)
                                     Unlimited.

   General Unsecured Claim           means a Claim against any of the Debtors that is
                                     not an Administrative Claim, Priority Tax Claim,
                                     Fee Claim, DIP Financing Claim, Other Priority
                                     Claim, Other Secured Claim, Senior Creditor
                                     Claim, Letter of Credit Facility Claim or
                                     Intercompany Claim.

   Government                        has the meaning set forth in Article VIII.K.2 of the
                                     Plan.

   HMH Holdings                      means HMH Holdings (Delaware), Inc., a
                                     Delaware corporation and its successors, assigns
                                     and/or designees, as applicable.


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   Impaired                           has the meaning as used in section 1124 of the
                                      Bankruptcy Code.

   Indenture Trustee Charging Lien    means a lien that secures repayment of the
                                      Indenture Trustee Expenses, to the extent provided
                                      for in the 10.5% Notes Indenture.

   Indenture Trustee Expenses         means any reasonable fees and documented out-of-
                                      pocket costs and expenses, incurred prior to or
                                      after the Petition Date by the 10.5% Indenture
                                      Trustee under the 10.5% Notes Indenture, the
                                      reasonableness of which shall, if disputed by the
                                      Debtors, be determined by the Court. Such
                                      amounts shall include, without limitation, the
                                      reasonable, documented, out-of-pocket costs and
                                      expenses of, and reasonable, documented unpaid
                                      legal fees actually incurred by, counsel to the
                                      10.5% Indenture Trustee in connection with the
                                      Chapter 11 Cases and the Distributions to the
                                      Bondholders.

   Informal Creditor Group            means the informal group of unaffiliated investors
                                      that are party to the Restructuring Support
                                      Agreement.

   Informal Creditor Group            means the advisors to the Informal Creditor Group,
   Professionals                      including, without limitation, Akin Gump Strauss
                                      Hauer & Feld LLP, Houlihan Lokey Capital, Inc.,
                                      Heidrick & Struggles and Lyons, Beneson &
                                      Company, Inc.

   Initial Distribution Date          means the Effective Date or as soon thereafter as is
                                      practicable upon which Distributions shall
                                      commence.

   Insured Claim                      means any Claim arising from an incident or
                                      occurrence alleged to have occurred prior to the
                                      Effective Date that is covered under an insurance
                                      policy applicable to the Debtors or their
                                      businesses.

   Intercompany Claims                means any Claim held by one Debtor (or a non-
                                      debtor that is a direct or indirect subsidiary, a
                                      direct or indirect parent, or an affiliate of a Debtor)
                                      against any other Debtor(s), including, without
                                      limitation, (a) any account reflecting intercompany
                                      book entries by such Debtor (or non-debtor that is


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                                      a direct or indirect subsidiary, a direct or indirect
                                      parent, or an affiliate of such Debtor) with respect
                                      to any other Debtor(s), (b) any Claim not reflected
                                      in book entries that is held by such Debtor (or non-
                                      debtor that is a direct or indirect subsidiary, a
                                      direct or indirect parent, or an affiliate of such
                                      Debtor), and (c) any derivative Claim asserted or
                                      assertable by or on behalf of such Debtor (or non-
                                      debtor that is a direct or indirect subsidiary, a
                                      direct or indirect parent, or an affiliate of such
                                      Debtor) against any other Debtor(s).

   Interim DIP Order                  means the interim order in form and substance
                                      acceptable to the Requisite Participating Lenders
                                      and the Debtors, entered by the Court, granting
                                      interim approval of the DIP Motion and
                                      authorizing and directing the payment of the
                                      Adequate Protection Payments.

   IPO                                means an initial public offering of New Common
                                      Stock.

   Letter of Credit Facility          means that certain $50 million standby letter of
                                      credit facility dated as of October 26, 2010, with
                                      Wells Fargo Bank, National Association, as issuer
                                      (as amended from time to time).

   Letter of Credit Facility Claims   means all Claims arising under the Letter of Credit
                                      Facility.

   Lien                               has the meaning set forth in section 101(37) of the
                                      Bankruptcy Code.

   Management Incentive Plan          means the incentive plan substantially in the form
                                      contained in the Plan Supplement, to be applicable
                                      to, among others, senior management of
                                      Reorganized HMH Holdings and the Reorganized
                                      Debtors that provides for the issuance of, among
                                      other things, the Management Options.

   Management Options                 means the options, the terms of which are set forth
                                      in the Management Incentive Plan, issued pursuant
                                      to the Management Incentive Plan.




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   New Common Stock                  means, following the Effective Date, the common
                                     stock of Reorganized HMH Holdings, par value
                                     $0.01 per share, to be originally issued by HMH
                                     Holdings (which will initially be issued to HMH
                                     and HMH Publishers Inc. as described in more
                                     detail in Step 1 of the Restructuring and will be
                                     exchanged for Senior Creditor Claims, as
                                     described in Step 2 of the Restructuring).

   New Warrant Agreement             means the warrant agreement pursuant to which
                                     the New Warrants will be issued, which shall be
                                     included the Plan Supplement and be in form and
                                     substance acceptable to the Requisite Participating
                                     Lenders and the Debtors.

   New Warrants                      means seven (7) year warrants to purchase, in the
                                     aggregate, 5% of the New Common Stock subject
                                     to dilution by equity distributed in connection with
                                     the Management Incentive Plan, with a strike price
                                     based on a $3.1 billion enterprise value for the
                                     Reorganized Debtors, which, if Class 8 votes to
                                     accept the Plan, shall be issued to the Existing
                                     Common Stockholders pursuant to the New
                                     Warrant Agreement.

   Other Holdings Equity Interest    means the holders of Other Holdings Equity
   Holders                           Interests.

   Other Holdings Equity Interests   means all Equity Interests in HMH Holdings other
                                     than Existing Common Stock and New Common
                                     Stock.

   Other Priority Claim              means a Claim entitled to priority pursuant to
                                     section 507(a) of the Bankruptcy Code (other than
                                     Administrative Claims and Priority Tax Claims).

   Other Secured Claim               means any Secured Claim, other than the DIP
                                     Financing Claims, the Senior Creditor Claims and
                                     the Letter of Credit Facility Claims or, in the event
                                     that such Claim is subject to setoff under section
                                     553 of the Bankruptcy Code, the amount of such
                                     Claim that is subject to such setoff.

   Paulson                           has the meaning set forth in Article VII.D. of the
                                     Plan.

   PBGC                              has the meaning set forth in Article VIII.K.2 of the


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                                       Plan.

   Person                              means any individual, corporation, partnership,
                                       limited liability company, association, indenture
                                       trustee, organization, joint stock company, joint
                                       venture, estate, trust, governmental unit or any
                                       political subdivision thereof, or any other entity.

   Petition Date                       means the date on which the Debtors filed their
                                       voluntary petitions for relief commencing the
                                       Chapter 11 Cases.

   Plan                                means this Plan, as it may be amended or modified
                                       from time to time, together with all addenda,
                                       exhibits, schedules, supplements or other
                                       attachments, if any, which shall, in each case, be in
                                       form and substance acceptable to the Requisite
                                       Participating Lenders and the Debtors.

   Plan Supplement                     means the supplement to the Plan containing the
                                       Plan Supplement Documents, which shall be filed
                                       with the Court no later than ten days before the
                                       Confirmation Hearing.

   Plan Supplement Documents           means the documents to be included in the Plan
                                       Supplement, including those identified in
                                       Article X.J. of the Plan, each of which shall be in
                                       form and substance acceptable to the Requisite
                                       Participating Lenders and the Debtors.

   Post-Petition Interest              means with respect to:

                                       (a)     Priority Tax Claims, interest accruing from
                                               the Petition Date through the Effective
                                               Date (i) with respect to federal taxes, at a
                                               fixed annual rate equal to the federal
                                               statutory rate as provided in 26 U.S.C.
                                               § 6621, and (ii) with respect to state and
                                               local taxes, at the Prime Rate of interest as
                                               in effect for the period to which the Priority
                                               Tax Claim pertains or (iii) in either case, as
                                               otherwise agreed to by the holder of such
                                               Priority Tax Claim and the Debtors with
                                               the consent of the Requisite Participating
                                               Lenders;

                                       (b)     Other Secured Claims and Other Priority
                                               Claims, interest accruing on such claims

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                                              from the Petition Date through the
                                              Effective Date at the rate set forth in the
                                              contract or other applicable document
                                              giving rise to such claims (to the extent
                                              lawful) or, if the applicable instrument
                                              does not specify a rate of interest, at the
                                              Federal Judgment Rate; and

                                       (c)    General Unsecured Claims, interest,
                                              accruing from the Petition Date through the
                                              Effective Date at the Federal Judgment
                                              Rate or such other rate ordered by the
                                              Court.

                                      For the avoidance of doubt, except as required
                                      under applicable non-bankruptcy law, Post-
                                      Petition Interest will not be paid on the following
                                      Claims: Senior Creditor Claims, Intercompany
                                      Claims and General Unsecured Claims paid in the
                                      ordinary course of business.

   Prime Rate                         means the rate of interest published from time to
                                      time in The Wall Street Journal, Eastern Edition,
                                      and designated as the prime rate.

   Priority Tax Claim                 means any Claim that is entitled to a priority in
                                      right of payment under section 502(i) or 507(a)(8)
                                      of the Bankruptcy Code.

   pro rata                           means, with respect to any Claim, at any time, the
                                      proportion that the amount of a Claim in a
                                      particular Class bears to the aggregate amount of
                                      all Claims (including Disputed Claims) in such
                                      Class, unless the Plan provides otherwise with
                                      respect to such Claim or Claims.

   Professional                       means (i) any professional employed in the
                                      Chapter 11 Cases pursuant to section 327, 328,
                                      363 or 1103 of the Bankruptcy Code or otherwise
                                      and (ii) any professional or other entity seeking
                                      compensation or reimbursement of expenses in
                                      connection with the Chapter 11 Cases pursuant to
                                      section 503(b)(4) of the Bankruptcy Code
                                      provided that the Informal Creditor Group
                                      Professionals shall not be Professionals as used in
                                      the Plan.



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   Qualified Institutional Buyer     has the meaning ascribed to it in Rule 144A
                                     promulgated under the Securities Act.

   Registration Rights Agreement     means a registration rights agreement by
                                     Reorganized HMH Holdings in favor of holders of
                                     New Common Stock, which shall be in form and
                                     substance acceptable to the Requisite Participating
                                     Lenders and contained in the Plan Supplement.

   Released Parties                  has the meaning set forth in Article VIII.I. of the
                                     Plan.

   Reorganized Debtors               means the Debtors, or any successors thereto by
                                     merger, consolidation, or otherwise, on and after
                                     the Effective Date.

   Reorganized HMH Holdings          means HMH Holdings, as reorganized, on and
                                     after the Effective Date.

   Reorganized HMH Holdings          has the meaning set forth in Article VII.D. of the
   Board of Directors                Plan.

   Reorganized HMH Holdings          means Reorganized HMH Holdings’ certificate of
   Certificate of Incorporation      incorporation, which will be in effect on the
                                     Effective Date, and shall be in form and substance
                                     acceptable to the Requisite Participating Lenders
                                     and contained in the Plan Supplement.

   Reorganized HMH Holdings          means Reorganized HMH Holdings’ bylaws,
   Bylaws                            which will be in effect on the Effective Date, and
                                     shall be in form and substance acceptable to the
                                     Requisite Participating Lenders and contained in
                                     the Plan Supplement.

   Restructuring                     has the meaning set forth in Article VII.B of the
                                     Plan.

   Restructuring Support Agreement   means that certain restructuring support agreement
                                     among the Debtors and the members of the
                                     Informal Creditor Group dated as of May 10, 2012
                                     as attached to the Disclosure Statement.

   Requisite Participating Lenders   means holders of at least 75% of the Senior
                                     Creditor Claims held by the members of the
                                     Informal Creditor Group.




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   Scheduled                           means, with respect to any Claim or Equity
                                       Interest, the status and amount, if any, of such
                                       Claim or Equity Interest as set forth in the
                                       Schedules (if any).

   Schedules                           means the schedules, if any, of assets and
                                       liabilities, statements of financial affairs, and lists
                                       of holders of Claims and Equity Interests filed
                                       with the Court by the Debtors, including any
                                       amendments, modifications or supplements
                                       thereto.

   SEC                                 means the United States Securities and Exchange
                                       Commission.

   Secured Claim                       means a Claim that is secured by a Lien on
                                       Collateral, to the extent of the value (as of the
                                       Effective Date or such other date as may be
                                       established by the Court) of such Collateral
                                       determined by a Final Order of the Court pursuant
                                       to section 506 of the Bankruptcy Code or as
                                       otherwise Allowed herein.

   Securities Act                      means the Securities Act of 1933, as amended, and
                                       the rules and regulations promulgated thereunder.

   Senior Creditors                    means all First Lien Bank Lenders and all
                                       Bondholders, collectively.

   Senior Creditor Claims              means all First Lien Bank Claims and 10.5% Note
                                       Claims, collectively.

   Substantive Consolidation Order     means the Confirmation Order or such other order
                                       of the Court providing for the substantive
                                       consolidation of the Debtors.

   Substantively Consolidated          means the Debtors, as substantively consolidated
   Debtors                             pursuant to the Substantive Consolidation Order.

   Voting Agent                        means Kurtzman Carson Consultants, LLC.

   Voting Deadline                     means May 18, 2012 at 5:00 P.M. prevailing
                                       Eastern Time for First Lien Bank Lenders and
                                       June 11, 2012 at 5:00 P.M. prevailing Eastern
                                       Time for Bondholders and Existing Common
                                       Stockholders.



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   Voting Record Date                       means May 10, 2012.


                   B.      Interpretation, Application of Definitions and Rules of
                           Construction.

   Wherever from the context it appears appropriate, each term stated in either the singular
   or the plural shall include both the singular and plural, and pronouns stated in the
   masculine, feminine or neuter gender shall include the masculine, feminine and neuter,
   such meanings to be applicable to both the singular and plural forms of the terms defined.
   Capitalized terms in the Plan that are not defined herein shall have the same meanings
   assigned to such terms by the Bankruptcy Code or Bankruptcy Rules, as the case may be.
   The words ―herein,‖ ―hereof,‖ and ―hereunder‖ and other words of similar import refer to
   the Plan as a whole and not to any particular section or subsection in the Plan unless
   expressly provided otherwise. The words ―includes‖ and ―including‖ are not limiting and
   mean that the things specifically identified are set forth for purposes of illustration, clarity
   or specificity and do not in any respect qualify, characterize or limit the generality of the
   class within which such things are included. Captions and headings to articles, sections
   and exhibits are inserted for convenience of reference only, are not a part of this Plan, and
   shall not be used to interpret this Plan. The rules of construction set forth in section 102
   of the Bankruptcy Code shall apply to this Plan. In computing any period of time
   prescribed or allowed by this Plan, the provisions of Bankruptcy Rule 9006(a) shall
   apply.

                                                 II.

               CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

                   A.      Introduction.

   All Claims and Equity Interests, except Administrative Claims, Priority Tax Claims, and
   DIP Financing Claims, are placed in the Classes set forth below. In accordance with
   section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Priority Tax Claims
   and DIP Financing Claims, as described below, have not been classified.

   A Claim or Equity Interest is placed in a particular Class only to the extent that the Claim
   or Equity Interest falls within the description of that Class, and is classified in other
   Classes to the extent that any portion of the Claim or Equity Interest falls within the
   description of such other Classes. A Claim or Equity Interest is also placed in a
   particular Class for the purpose of receiving Distributions pursuant to the Plan only to the
   extent that such Claim or Equity Interest is an Allowed Claim or Allowed Equity Interest
   in that Class and such Claim or Equity Interest has not been paid, released, or otherwise
   satisfied prior to the Effective Date.

                           1.      Unclassified Claims (not entitled to vote on the Plan).

                                   (a)     Administrative Claims.


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                             (b)    Priority Tax Claims.

                             (c)    DIP Financing Claims.

                        2.   Unimpaired Classes of Claims and Equity Interests
                             (deemed to have accepted the Plan and, therefore, not
                             entitled to vote on the Plan).

                             (a)    Class 1: Other Priority Claims.

                             Class 1 consists of all Other Priority Claims.

                             (b)    Class 2: Other Secured Claims.

                             Class 2 consists of all Other Secured Claims.

                             (c)    Class 4: Letter of Credit Facility Claims.

                             Class 4 consists of all Letter of Credit Facility Claims.

                             (d)    Class 5: General Unsecured Claims.

                             Class 5 consists of all General Unsecured Claims.


                             (e)    Class 6: Intercompany Claims.

                             Class 6 consists of all Intercompany Claims.

                             (f)    Class 7: Equity Interests in Debtors other than
                                    HMH Holdings.

                             Class 7 consists of all Equity Interests in Debtors other than
                             HMH Holdings.


                        3.   Impaired Classes (entitled to vote on the Plan).

                             (a)    Class 3: Senior Creditor Claims.

                             Class 3 consists of all Senior Creditor Claims.




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                                 (b)     Class 8: Existing Common Stock.

                                 Class 8 consists of all Existing Common Stock.

                          4.     Impaired Classes (deemed to have rejected the Plan
                                 and, therefore, not entitled to vote on the Plan).

                                 (a)     Class 9: Other Holdings Equity Interests.

                                 Class 9 consists of all Other Holdings Equity Interests.

                                               III.

                   TREATMENT OF ADMINISTRATIVE CLAIMS,
               PRIORITY TAX CLAIMS AND DIP FINANCING CLAIMS

                  A.      Administrative Claims.

   Subject to the provisions of sections 330(a) and 331 of the Bankruptcy Code, as
   applicable, each holder of an Allowed Administrative Claim shall receive in full and final
   satisfaction of such Claim, (a) Cash in the full amount of such Allowed Claim, without
   interest, or (b) such amount at such other date and upon such other terms as may be
   agreed upon in writing by such holder and the Debtors, with the consent of the Requisite
   Participating Lenders or otherwise approved by Final Order of the Court on or as soon as
   practicable after the later of (i) the Effective Date, (ii) the date on which such
   Administrative Claim becomes Allowed, (iii) the date on which such Allowed
   Administrative Claim is due to be paid in the ordinary course of business with the
   Debtors, and (iv) the date on which the holder of such Allowed Administrative Claim and
   the Debtors, with the consent of the Requisite Participating Lenders, otherwise agree in
   writing. Notwithstanding anything herein to the contrary, except with respect to Fee
   Claims and except with respect to subsection (iv) hereof, the Debtors or Reorganized
   Debtors, as applicable, shall object to any Administrative Claims before the later of
   (x) sixty (60) days after the Effective Date and (y) sixty (60) days after the filing of the
   request for payment of an Administrative Claim.

                  B.      Fee Claims.

   All requests for compensation or reimbursement of Fee Claims pursuant to sections 327,
   328, 330, 331, 503 or 1103 of the Bankruptcy Code for services rendered prior to the
   Effective Date shall be filed and served on the Reorganized Debtors and their counsel,
   the United States Trustee, counsel to the Creditors’ Committee (if any), counsel to the
   Informal Creditor Group and such other entities who are designated by the Bankruptcy
   Rules, the Confirmation Order or any other order(s) of the Court, no later than forty-five
   (45) days after the Effective Date. Holders of Fee Claims that are required to file and
   serve applications for final allowance of their Fee Claims and that do not file and serve
   such applications by the required deadline shall be forever barred from asserting such Fee
   Claims against the Debtors, the Reorganized Debtors or their respective properties, and


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   such Fee Claims shall be deemed discharged as of the Effective Date. Objections to any
   Fee Claims must be filed and served on the Reorganized Debtors and their counsel and
   the requesting party no later than seventy-five (75) days (or such longer period as may be
   allowed by order of the Court) after the Effective Date.

                  C.      Priority Tax Claims.

   Except to the extent that a holder of an Allowed Priority Tax Claim and the Debtors, with
   the consent of the Requisite Participating Lenders, agree to a different treatment, each
   holder of an Allowed Priority Tax Claim shall receive Cash in an amount equal to such
   Allowed Priority Tax Claim plus Post-Petition Interest on the later of the Initial
   Distribution Date and the date such Priority Tax Claim becomes an Allowed Priority Tax
   Claim, or as soon thereafter as is practicable. All Allowed Priority Tax Claims that are
   not due and payable on or before the Effective Date shall be paid in the ordinary course
   of business without Post-Petition Interest.

                  D.      DIP Financing Claims.

   On the Effective Date, except to the extent that the holders of the DIP Financing Claims
   and the Debtors, with the consent of the Requisite Participating Lenders, agree to a
   different treatment, in full and final satisfaction of such Claims, the DIP Financing
   Claims shall be satisfied as provided under the Exit Facility.

                                                IV.

                               TREATMENT OF CLAIMS AND
                                   EQUITY INTERESTS

                  A.      Class 1 — Other Priority Claims.

                          1.      Distributions.

   Except to the extent that a holder of an Allowed Other Priority Claim and the Debtors,
   with the consent of the Requisite Participating Lenders, agree to a different treatment,
   each holder of an Allowed Other Priority Claim shall receive, in full and final satisfaction
   of such Claim, payment in full in Cash in an amount equal to such Allowed Other
   Priority Claim plus Post-Petition Interest on or as soon as practicable after the later of the
   Initial Distribution Date and the date when such Other Priority Claim becomes an
   Allowed Other Priority Claim. All Allowed Other Priority Claims that are not due and
   payable on or before the Effective Date shall be paid in the ordinary course of business
   without Post-Petition Interest.

                          2.      Impairment and Voting.

   Class 1 is unimpaired under the Plan. Holders of Allowed Other Priority Claims in Class
   1 are presumed to accept the Plan and are not entitled to vote to accept or reject the Plan.



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                  B.      Class 2 — Other Secured Claims.

                          1.     Distributions.

   Except to the extent that a holder of an Allowed Other Secured Claim and the Debtors,
   with the consent of the Requisite Participating Lenders, agree to a different treatment, in
   full and final satisfaction of such Claim, (i) each Allowed Other Secured Claim shall be
   reinstated and rendered unimpaired in accordance with section 1124(2) of the Bankruptcy
   Code, notwithstanding any contractual provision or applicable nonbankruptcy law that
   entitles the holder of an Allowed Other Secured Claim to demand or to receive payment
   of such Allowed Other Secured Claim prior to the stated maturity of such Allowed Other
   Secured Claim from and after the occurrence of a default, (ii) each holder of an Allowed
   Other Secured Claim shall receive Cash in an amount equal to such Allowed Other
   Secured Claim plus Post-Petition Interest in full and complete satisfaction of such
   Allowed Other Secured Claim on the later of the Initial Distribution Date and the date
   such Other Secured Claim becomes an Allowed Other Secured Claim, or as soon
   thereafter as is practicable, or (iii) each holder of an Allowed Other Secured Claim shall
   receive the Collateral securing its Allowed Other Secured Claim plus Post-Petition
   Interest in full and complete satisfaction of such Allowed Other Secured Claim on the
   later of the Initial Distribution Date and the date such Other Secured Claim becomes an
   Allowed Other Secured Claim, or as soon thereafter as is practicable, in each case as
   determined by the Debtors, with the consent of the Requisite Participating Lenders.

                          2.     Impairment and Voting.

   Class 2 is unimpaired under the Plan. The holders of Allowed Other Secured Claims in
   Class 2 are presumed to accept the Plan and are not entitled to vote to accept or reject the
   Plan.

                  C.      Class 3 — Senior Creditor Claims.

                          1.     Allowance of Senior Creditor Claims and Distribution.

   Senior Creditor Claims shall be deemed Allowed in the following amounts: (a) the First
   Lien Term Loan Claims shall be deemed Allowed in the amount of $2.571 billion plus
   accrued interest as of the Petition Date; (b) the First Lien Revolver Claims shall be
   deemed Allowed in the amount of $235.8 million plus accrued and unpaid interest as of
   the Petition Date; and (c) the 10.5% Notes Claims shall be allowed in the amount of $300
   million plus accrued interest as of the Petition Date. On the Initial Distribution Date,
   subject to the occurrence of the Restructuring (as provided in Article VII.B), each holder
   of an Allowed Senior Creditor Claim shall receive, in full and final satisfaction of such
   Claim, its pro rata share of (i) 100% of the New Common Stock, subject to dilution for
   the New Common Stock to be issued pursuant to the Management Incentive Plan and, if
   applicable, New Common Stock to be issued upon exercise of the New Warrants and (ii)
   $30.3 million in Cash.




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                          2.      Impairment and Voting.

   Class 3 is Impaired under the Plan. Each holder of an Allowed Senior Creditor Claim in
   Class 3 is entitled to vote to accept or reject the Plan.

                  D.      Class 4 — Letter of Credit Facility Claims.

                          1.      Distributions.

   Except to the extent that a holder of an Allowed Letter of Credit Facility Claim and the
   Debtors, with the consent of the Requisite Participating Lenders, agree to a different
   treatment, the outstanding letters of credit issued under the Letter of Credit Facility shall
   either continue unaffected upon consummation of the Plan or be replaced from the
   proceeds of the Exit Facility and the Letter of Credit Facility shall be deemed terminated.

                          2.      Impairment and Voting.

   Class 4 is unimpaired under the Plan. Each holder of an Allowed Letter of Credit Facility
   Claim in Class 4 is presumed to accept the Plan and is not entitled to vote to accept or
   reject the Plan.

                  E.      Class 5 — General Unsecured Claims.

                          1.      Distributions.

   Each holder of an Allowed General Unsecured Claim shall receive, in full and final
   satisfaction of such Claims, Cash in amount equal to such holder’s Allowed General
   Unsecured Claim plus accrued and unpaid Post-Petition Interest; provided, however, that
   the Debtors may, with the consent of the Requisite Participating Lenders, seek authority
   from the Court to pay certain General Unsecured Claims in advance of the Effective Date
   pursuant to certain ―first day motions‖ the Debtors intend to file in the Chapter 11 Cases,
   as described in the Disclosure Statement; provided, further, that any General Unsecured
   Claim that becomes due and owing after the Effective Date shall be paid in the ordinary
   course of business when such claim is due and owing, without Post-Petition Interest.

                          2.      Impairment and Voting.

   Class 5 is unimpaired under the Plan. Each holder of an Allowed General Unsecured
   Claim in Class 5 is presumed to accept the Plan and is not entitled to vote to accept or
   reject the Plan.




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                  F.     Class 6 — Intercompany Claims.

                         1.      Distributions.

   On or as soon as practicable after the Effective Date, all Allowed Intercompany Claims
   shall be adjusted, continued, or discharged to the extent determined appropriate by the
   Debtors, with the consent of the, Requisite Participating Lenders.

                         2.      Impairment and Voting.

   Class 6 is unimpaired under the Plan. Holders of Intercompany Claims in Class 6 are
   presumed to accept the Plan and are not entitled to vote to accept or reject the Plan.

                  G.     Class 7 — Equity Interests in Debtors other than HMH
                         Holdings.

                         1.      Distributions.

   The holders of Equity Interests in Debtors other than HMH Holdings shall retain such
   Equity Interests.

                         2.      Impairment and Voting.

   Class 7 is unimpaired under the Plan. The holders of Equity Interests in Debtors other
   than HMH Holdings in Class 7 are presumed to accept the Plan and are not entitled to
   vote to accept or reject the Plan.

                  H.     Class 8 — Existing Common Stock.

                         1.      Distribution.

   If the Class 8 Existing Common Stock votes to accept the Plan, each holder of Existing
   Common Stock shall receive its pro rata share of the New Warrants. If the Class 8
   Existing Common Stock votes to reject the Plan, the holders of the Existing Common
   Stock shall neither receive distributions nor retain any property under the Plan on account
   of such Existing Common Stock.

                         2.      Impairment and Voting.

   Class 8 is Impaired under the Plan. Each Existing Common Stockholder is entitled to
   vote to accept or reject the Plan.




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                  I.      Class 9 — Other Holdings Equity Interests.

                          1.      Distribution.

   Each Other Holdings Equity Interest Holder shall neither receive distributions nor retain
   any property under the Plan on account of such Other Holdings Equity Interest. The
   Other Holdings Equity Interests will be cancelled on the Effective Date.

                          2.      Impairment and Voting.

   Class 9 is Impaired under the Plan. Each Other Holdings Equity Interest Holder is
   presumed to reject the Plan and is not entitled to vote to accept or reject the Plan.

                                                  V.

    PROVISIONS REGARDING VOTING, DISTRIBUTIONS, AND TREATMENT
     OF DISPUTED, CONTINGENT AND UNLIQUIDATED ADMINISTRATIVE
            EXPENSE CLAIMS, CLAIMS AND EQUITY INTERESTS


                  A.      Voting on the Plan.

   Each holder of an Allowed Claim in Class 3 and each Existing Common Stockholder in
   Class 8 is Impaired and is entitled to vote to accept or reject the Plan. Classes 1, 2, 4, 5, 6
   and 7 are unimpaired and are not to entitled to vote to accept or reject the Plan as they are
   presumed to accept the Plan. Class 9 is Impaired, will not receive or retain any property
   under the Plan, and is not entitled to vote to accept or reject the Plan as it is deemed to
   reject the Plan.

                  B.      Distributions.

                          1.      Allowed Claims.

                                  (a)      Delivery of Distributions.

   Distributions under the Plan shall be made by the Reorganized Debtors or their designee
   to the holders of Allowed Administrative Claims, Allowed Priority Tax Claims, Allowed
   Other Priority Claims, Allowed Other Secured Claims, and Allowed General Unsecured
   Claims at the addresses set forth in the Debtors’ books and records, unless such addresses
   are superseded by proofs of claim or transfers of claim filed pursuant to Bankruptcy Rule
   3001 on or prior to the Voting Record Date (or at the last known addresses of such
   holders if the Debtors or the Reorganized Debtors have been notified in writing of a
   change of address). Distributions on account of the Allowed Senior Creditor Claims shall
   be made initially to the First Lien Administrative Agent and the 10.5% Indenture Trustee,
   or to such other entity(ies) as may be determined by the First Lien Administrative Agent
   and/or the 10.5% Indenture Trustee, for distribution to holders of Allowed Senior
   Creditor Claims. Distributions on account of the Existing Common Stock, if any, shall


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   be made to the Debtors’ transfer agent, for distribution to Existing Common
   Stockholders.

                                 (b)     Distribution of Cash.

   Any payment of Cash by the Reorganized Debtors pursuant to the Plan shall be made at
   the option and in the sole discretion of the Reorganized Debtors by (i) a check drawn on,
   or (ii) wire transfer from, a domestic bank selected by the Reorganized Debtors.

                                 (c)     Fractional Cents.

   Any other provision of the Plan to the contrary notwithstanding, no payment of fractions
   of cents will be made. Whenever any payment of a fraction of a cent would otherwise be
   called for, the actual payment shall reflect a rounding down of such fraction to the nearest
   whole cent.

                                 (d)     Fractional Securities.

   Any other provision of the Plan to the contrary notwithstanding, no distributions of
   fractional shares of New Common Stock or fractional New Warrants will be made.
   Whenever any distribution of a fraction of a share of New Common Stock or a fraction of
   a New Warrant would otherwise be called for, the actual distribution shall reflect a
   rounding down of such fraction to the nearest whole share of New Common Stock or
   New Warrant.

                                 (e)     Unclaimed Distributions.

   Any Distribution of Cash under the Plan to the holder of an Allowed Claim which
   remains unclaimed for a period of ninety (90) days after it has been delivered (or
   attempted to be delivered) in accordance with the Plan shall be transferred to and become
   property of the Reorganized Debtors notwithstanding state or other escheat or similar
   laws to the contrary, and any and all entitlement by the holder of such Claim to such
   Distribution shall be extinguished and forever barred. The failure by a holder of the
   Senior Creditor Claims to execute the Registration Rights Agreement within 180 days of
   the Effective Date shall result in the forfeiture of such holders allocation of New
   Common Stock. After such date, all forfeited New Common Stock shall revert to the
   Reorganized Debtors and the Senior Creditor Claim of such holder to such New Common
   Stock shall be discharged and forever barred.




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                                   (f)   Saturdays, Sundays, or Legal Holidays.

   If any payment or act under the Plan is required to be made or performed on a date that is
   not a Business Day, then the making of such payment or the performance of such act may
   be completed on the next succeeding Business Day, and shall be deemed to have been
   completed as of the required date.

                                   (g)   Distributions to Holders of Allowed Claims as of
   the Distribution Record Date.

   As of the close of business on the Distribution Record Date, the Claims register shall be
   closed, and there shall be no further changes in the record holders of any Claims. The
   Debtors and the Reorganized Debtors shall have no obligation to recognize any Claim
   filed or transfer of any Claims occurring after the Distribution Record Date. The Debtors
   and the Reorganized Debtors shall instead be entitled to recognize and deal for purposes
   under the Plan with only those record holders stated on the Claims register as of the close
   of business on the Distribution Record Date.

                                   (h)   Third Party Agreements; Subordination.

   Distributions shall be subject to and modified by any Final Order directing distributions
   other than as provided in the Plan. The right of the Debtors to seek subordination of any
   Claim or Equity Interest pursuant to section 510 of the Bankruptcy Code is fully
   reserved, and the treatment afforded any Claim or Equity Interest that becomes a
   subordinated Claim or subordinated Equity Interest at any time shall be modified to
   reflect such subordination. Unless the Confirmation Order provides otherwise, no
   Distributions shall be made on account of any subordinated Claim or subordinated Equity
   Interest.

                  C.     Objections to and Resolution of Claims.

                         1.        Objections to and Resolution of Administrative Claims
                                   and Claims.

   The Reorganized Debtors shall have the exclusive right to make and to file objections to
   Administrative Claims (other than Fee Claims) and Claims subsequent to the Effective
   Date. Unless otherwise ordered by the Court, objections to Administrative Claims and
   Claims shall be filed and served upon the holders of the Administrative Claims or Claims
   as to which the objection is made as soon as practicable. Objections to Fee Claims shall
   be filed and served within seventy-five (75) days (or such longer period as may be
   allowed by order of the Court) after the Effective Date.

   Objections to Administrative Claims and Claims may be litigated to judgment, settled or
   withdrawn, in the Reorganized Debtors’ sole discretion. The Reorganized Debtors may
   settle any such objections without Court approval.




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                  D.      Estimation.

   The Debtors or the Reorganized Debtors, as the case may be, may at any time request that
   the Court estimate, subject to 28 U.S.C. § 157, any Disputed Claim pursuant to section
   502(c) of the Bankruptcy Code regardless of whether the Debtors or the Reorganized
   Debtors have previously objected to such Claim. The Court will retain jurisdiction to
   estimate any Claim at any time, including during proceedings concerning any objection
   to such Claim. In the event that the Court estimates any Disputed Claim, such estimated
   amount may constitute either (a) the Allowed amount of such Claim, (b) the estimate to
   be used by the Debtors in calculating potential Distributions under the Plan, or (c) a
   maximum limitation on such Claim, as determined by the Court. In the case of Claims
   arising from personal injury tort or wrongful death actions, the Court may estimate such
   Claims for the purpose of confirming the Plan. If the estimated amount constitutes a
   maximum limitation on such Claim, the Debtors or the Reorganized Debtors may elect to
   object to ultimate payment of such Claim. All of the aforementioned Claims objection,
   estimation and resolution procedures are cumulative and not necessarily exclusive of one
   another.

                  E.      Indenture Trustee Expenses and First Lien Agent Expenses.

   In addition to any other Claim that may be filed by the 10.5% Indenture Trustee or the
   First Lien Agents pursuant to the provisions set forth herein, the 10.5% Indenture Trustee
   and the First Lien Agents shall have an Allowed Administrative Claim in an amount
   equal to the Indenture Trustee Expenses or the First Lien Agent Expenses. If the Debtors
   or the Reorganized Debtors dispute the reasonableness of the Indenture Trustee Expenses
   or the First Lien Agent Expenses, the Debtors, the Reorganized Debtors, or the 10.5%
   Indenture Trustee or the First Lien Agents, as applicable, may submit such dispute to the
   Court for a determination of the reasonableness of such fees or expenses and the disputed
   portion of the Indenture Trustee Expenses or the First Lien Agent Expenses shall not be
   paid until the dispute is resolved. The undisputed portion of the Indenture Trustee
   Expenses or the First Lien Agent Expenses shall be paid as provided herein. The 10.5%
   Indenture Trustee shall not be entitled to payment of or assertion of its Indenture Trustee
   Charging Lien for any disputed Indenture Trustee Expenses to the extent the Court
   determines that such Indenture Trustee Expenses are unreasonable under the terms of the
   10.5% Notes Indenture. Nothing contained herein shall otherwise affect the right of the
   10.5% Indenture Trustee from asserting its Indenture Trustee Charging Lien, to the extent
   applicable under the terms of the 10.5% Notes Indenture, provided, however, that upon
   the full and indefeasible payment of the Indenture Trustee Expenses, the Indenture
   Trustee Charging Lien shall be deemed released and discharged in full.

                  F.      Cancellation and Surrender of Existing Securities and
                          Agreements.

   On the Effective Date, except as otherwise specifically provided for in the Plan, after the
   Restructuring, the obligations under the 10.5% Notes Indenture and the First Lien Credit
   Agreement and any other certificate, share, note, bond, indenture, purchase right, option,
   warrant or other instrument or document directly or indirectly evidencing or creating any

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   indebtedness or obligation of or ownership interest in the Debtors giving rise to any
   Claim, including Equity Interests , shall be deemed cancelled and the obligations of the
   Debtors pursuant, relating, or pertaining to any agreements, indentures, certificates of
   designation, bylaws or certificate or articles of incorporation or similar documents
   governing the shares, certificates, notes, bonds, indentures, purchase rights, options,
   warrants or other instruments or documents evidencing or creating any indebtedness or
   obligations of the Debtors shall be released and discharged, provided, however,
   notwithstanding Confirmation or the occurrence of the Effective Date, any agreement that
   governs the rights of the holder of a Claim shall continue in effect solely for purposes of
   allowing holders to receive distributions under the Plan as provided in the Plan; provided,
   however, that (a) the 10.5% Notes Indenture and the First Lien Credit Agreement shall
   continue to survive and be in full force and effect only for the purposes of (i) making
   distributions under the Plan, (ii) asserting any Indenture Trustee Charging Lien
   thereunder, (iii) permitting the 10.5% Indenture Trustee to appear in the Chapter 11
   Cases, and (iv) any function necessary in connection with the forgoing clauses (a)(i)-
   (a)(iii) and (b) the First Lien Credit Agreement shall continue to survive and be in full
   force and effect only for purposes of (i) making distributions under the Plan; (ii)
   permitting the First Lien Agents to appear in the Chapter 11 Cases and (iii) any function
   necessary in connection with the foregoing clauses (b)(i) and (b)(ii); provided, however,
   that for the avoidance of doubt, the 10.5% Notes Indenture shall be deemed to be fully
   and completely terminated and discharged upon the making of all of the distributions set
   forth in clause (a)(i) and (b)(i) of this Article V.F, respectively.

                  G.      Nonconsensual Confirmation.

   Classes 3 and 8 are Impaired and are entitled to vote to accept or reject the Plan. Class 9
   is Impaired, is not entitled to vote to accept or reject the Plan, and is deemed to reject the
   Plan. As such, the Debtors will seek to have the Court confirm the Plan under section
   1129(b) of the Bankruptcy Code with respect to Class 8 if it votes to reject the Plan and
   Class 9.

                                                VI.

                 SUBSTANTIVE CONSOLIDATION OF THE DEBTORS

   The Plan is predicated upon, and it is a condition precedent to confirmation of the Plan,
   that the Court provide in the Substantive Consolidation Order for the substantive
   consolidation of the Chapter 11 Cases of the Debtors into a single Chapter 11 Case for
   purposes of the Plan and the Distributions hereunder. Pursuant to such Substantive
   Consolidation Order (i) all assets and liabilities of the Substantively Consolidated
   Debtors will be merged, (ii) the obligations of each Debtor will be deemed to be the
   obligations of the Substantively Consolidated Debtors, (iii) any Claims filed or to be filed
   in connection with any such obligations will be deemed Claims against the Substantively
   Consolidated Debtors, (iv) each Claim filed in the Chapter 11 Cases of any Debtor will
   be deemed filed against the Debtors in the consolidated Chapter 11 Cases in accordance
   with the substantive consolidation of the assets and liabilities of the Debtors, (v) all


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   transfers, disbursements and distributions made by any Debtor under the Plan will be
   deemed to be made by the Substantively Consolidated Debtors, and (vi) all guarantees of
   the Debtors of the obligations of any other Debtors shall be deemed eliminated so that
   any Claim against any Debtor and any guarantee thereof executed by any other Debtor
   and any joint or several liability of any of the Debtors shall be deemed to be one
   obligation of the Substantively Consolidated Debtors. Holders of Allowed Claims in
   each Class shall be entitled to their share of assets available for distribution to such Class
   without regard to which Debtor was originally liable for such Claim. Such substantive
   consolidation shall not (other than for purposes related to the Plan) affect (a) the legal and
   corporate structure of the Reorganized Debtors (b) Intercompany Claims or (c) other pre-
   and post-Petition Date guarantees that are required to be maintained (i) in connection
   with executory contracts or unexpired leases that were entered into during the Chapter 11
   Cases or that have been, or will hereunder be, assumed, (ii) pursuant to the express terms
   of the Plan, or (iii) in connection with the Exit Facility. The proposed substantive
   consolidation shall not affect each Debtor’s obligation to file the necessary operating
   reports and pay any required fees pursuant to 28 U.S.C. § 1930(a)(6) and such obligations
   shall continue until an order is entered closing, dismissing or converting such Debtor’s
   Chapter 11 Case.

   Unless the Court has approved the substantive consolidation of the Estates by a prior
   order, the Plan shall serve as, and shall be deemed to be, a motion for entry of an order
   substantively consolidating the Debtors’ estates. If no objection to substantive
   consolidation is timely filed and served, then the proposed substantive consolidation of
   the Substantively Consolidated Debtors may be approved by the Court. If any such
   objection is timely filed and served, a hearing with respect to the substantive
   consolidation of the Estates and the objections thereto shall be scheduled by the Court,
   which hearing may coincide with the Confirmation Hearing.

   In the event the Court determines not to approve the substantive consolidation of the
   Substantively Consolidated Debtors, the Plan shall constitute a separate chapter 11 plan
   of reorganization for each Debtor, each of which shall include the classifications set forth
   herein. For the avoidance of doubt, to the extent a Class contains Allowed Claims or
   Equity Interests with respect to a particular Debtor, such Class is designated with respect
   to such Debtor. To the extent there are no Allowed Claims or Equity Interests with
   respect to a particular Debtor, such Class is deemed to be omitted with respect to such
   Debtor.

                                               VII.

               PROVISIONS REGARDING IMPLEMENTATION OF PLAN

                  A.      Exit Facility.

   The Debtors shall have closed on the Exit Facility on or prior to the Effective Date, to be
   entered into by the Reorganized Debtors, the administrative agent and the lenders party
   thereto with the consent of the Requisite Participating Lenders, and all ancillary
   agreements, substantially in the form included in the Plan Supplement, which must be

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   acceptable to the Requisite Participating Lenders. On the Effective Date, the
   Reorganized Debtors are authorized to execute and deliver those documents necessary or
   appropriate to obtain the Exit Facility without further notice to or order of the Court, act
   or action under applicable law, regulation, order, or rule or vote, consent, authorization,
   or approval of any person.

   The amounts borrowed under the Exit Facility shall be used to make the required
   Distributions under the Plan, to satisfy certain plan-related expenses and to fund the
   Reorganized Debtors’ working capital needs.

                   B.      The Restructuring.

   To implement the Plan, on the Effective Date, the Debtors will undergo a restructuring
   (the ―Restructuring‖), that will include the following steps:

       Step (1): HMH Holdings will contribute the New Common Stock (through
   intermediate subsidiaries) to HMH Publishers Inc. (on its own behalf and on behalf of
   HMH Publishers LLC) and to HMH, so that HMH Publishers Inc. and HMH own the
   New Common Stock of HMH Holdings. HMH Publishers Inc. (on its own behalf and on
   behalf of Reorganized HMH Publishers LLC) and HMH will receive New Common
   Stock in proportion to the benefit each derived from the proceeds of the indebtedness
   under the First Lien Credit Agreement and the 10.5% Notes) (the ―Co-Borrower
   Percentages‖). The Debtors will contribute or distribute (through intermediate
   subsidiaries or parent entities), as necessary, an aggregate amount of $30.3 million of
   Cash to HMH and HMH Publishers Inc. (on its own behalf and on behalf of Reorganized
   HMH Publishers LLC) so that each holds Cash (in proportion to the Co-Borrower
   Percentages) necessary to engage in the exchanges described in Step 2.

      Step (2):

          (A) The Senior Creditor Claims will be transferred to HMH Publishers Inc. (on its
   own behalf and on behalf of Reorganized HMH Publishers LLC) and to HMH in
   accordance with the Co-Borrower Percentages and the Senior Creditor Claims will be
   cancelled.

           (B) In exchange for their Senior Creditor Claims, Senior Creditors will receive
   from each of HMH Publishers Inc. and HMH, a pro rata share of the New Common Stock
   that HMH Publishers Inc. and HMH held after Step (1) of the Restructuring and a pro
   rata share of $30.3 million in Cash. HMH Publishers Inc. and HMH shall hold no New
   Common Stock after this Step (2).

       Step (3): The Existing Common Stock will be cancelled, either (x) in exchange for
   the New Warrants if Class 8 votes to approve the Plan, or (z) for no consideration if Class
   8 votes to reject the Plan. All Other Holdings Equity Interests will be cancelled.

   For U.S. federal income tax purposes, and for state, local, and non-U.S. tax purposes, to
   the extent applicable, (x) the Senior Creditors and the Debtors shall report the


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   transactions described in Step 1 and Step 2 (taken together) as a taxable exchange of the
   Senior Creditor Claims for New Common Stock and Cash and (y) the Existing Common
   Stockholders and the Debtors shall report the transactions described in Step (3), to the
   extent the Existing Common Stockholders receive New Warrants, as a taxable exchange
   of their Existing Common Stock for New Warrants.

                  C.      Sources of Cash for Plan Distribution and Transfers of Funds
                          Among Debtors

   All consideration necessary for the Reorganized Debtors to make payments or
   distributions pursuant to the Plan shall be obtained from the Exit Facility or other Cash
   from the Debtors, including Cash from business operations. Further, the Debtors, the
   Foreign Affiliates and the Reorganized Debtors will be entitled to transfer funds between
   and among themselves as they determine to be necessary or appropriate to enable the
   Reorganized Debtors to satisfy their obligations under the Plan. Except as set forth in the
   Plan, any changes in intercompany account balances resulting from such transfers will be
   accounted for and settled in accordance with the Debtors’ historical intercompany
   account settlement practices and will not violate the terms of the Plan.

                  D.      The Initial Board of Directors.

   Immediately following the Effective Date, the board of directors of Reorganized HMH
   Holdings (―Reorganized HMH Holdings Board of Directors‖) shall be comprised of nine
   (9) members, one (1) of whom shall be the chief executive officer and eight (8) of whom,
   including the chairperson, shall be initially chosen by the Informal Creditor Group with
   the participation and input of the chief executive officer, provided, that, Paulson & Co.
   Inc. (―Paulson‖) shall have the right to designate two (2) initial directors, one of whom
   will be ―independent‖ and selected from the pool of candidates identified with the
   assistance of a consultant. All initial members of the Reorganized HMH Holdings Board
   of Directors (other than the two (2) nominated by Paulson, one of whom shall be chosen
   from the pool of independent director candidates), whether designated prior to or after the
   Effective Date, will be designated for an initial term of one (1) year by the consensus of
   the Informal Creditor Group from a pool of director candidates that has been generated
   by the Informal Creditor Group with the participation and input of the chief executive
   officer and an outside consulting firm selected by the Informal Creditor Group. The pool
   of director candidates may include existing directors as well as new director candidates.
   Thereafter, all members of the Reorganized HMH Holdings Board of Directors (until an
   IPO, other than those directors nominated pursuant to a Nomination Agreement) will be
   designated by the nominating committee of the Reorganized HMH Holdings Board of
   Directors or the holders of a majority of outstanding shares of New Common Stock.
   After the Effective Date, in any uncontested election for directors, a director must receive
   the approval of a majority of the shares of New Common Stock voted at the meeting.

   A majority of the Reorganized HMH Holdings Board of Directors, including the
   Chairperson, will be ―independent‖ under NYSE standards. The Reorganized HMH
   Holdings Board of Directors will have an audit committee, a compensation committee, a
   nominating committee and an ethics and governance committee.

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   The identities, affiliations and the nature of compensation of the directors shall be
   disclosed in the Plan Supplement. The directors of each Debtor on the day immediately
   preceding the Effective Date that are not otherwise appointed as members of the initial
   board of directors or the equivalent governing body for the corresponding Reorganized
   Debtor shall be deemed to have resigned from the board of directors of such Debtor as of
   the Effective Date. To the extent there are open seats on the Reorganized HMH Holdings
   Board of Directors on the Effective Date, the nominating committee, which shall consist
   of the members of the Informal Creditor Group, shall be empowered to appoint new
   members of the Reorganized HMH Holdings Board of Directors and the board of
   directors for the other Reorganized Debtors to fill the empty seats on and after the
   Effective Date.

                  E.      Securities to Be Issued Pursuant to the Plan.

   The New Common Stock offered in the Plan shall be the common stock in Reorganized
   HMH Holdings. The issuance of the New Common Stock, the New Warrants, the
   Management Options or other equity awards reserved for the Management Incentive
   Plan, and the New Common Stock issuable upon exercise of the New Warrants is
   authorized without the need for any further corporate action or without any further action
   by a holder of a Claim. Computershare Limited will be the transfer agent, registrar and
   redemption agent for the New Common Stock. Reorganized HMH Holdings shall
   authorize and issue or reserve for issuance such number of shares of New Common Stock
   as may be necessary to be issued upon exercise of the New Warrants or to effectuate the
   Management Incentive Plan. All of the shares of New Common Stock and New
   Warrants issued pursuant to the Plan shall be duly authorized, validly issued and fully
   paid and non-assessable.

                  F.      Management of Reorganized Debtors.

   Upon the Effective Date, the officers of the Reorganized Debtors shall be substantially
   the same as the officers of the Debtors on the Petition Date. The Reorganized Debtors’
   officers shall serve in accordance with any employment agreement with the Reorganized
   Debtors and applicable nonbankruptcy law. The Debtors will disclose the identities of
   senior management and any related employment agreements in the Plan Supplement.

                  G.      Reorganized HMH Holdings Certificate of Incorporation,
                          Reorganized HMH Holdings Bylaws and Other Amended and
                          Restated Governing Documents.

   The adoption of the Amended and Restated Governing Documents shall be deemed to
   have occurred and be effective as of the Effective Date without any further action by the
   directors, stockholders, partners or members (as the case may be) of the Debtors or
   Reorganized Debtors. The Amended and Restated Governing Documents will, among
   other things, contain appropriate provisions prohibiting the issuance of nonvoting equity
   securities to the extent required by section 1123(a)(6) of the Bankruptcy Code. On or
   prior to the Effective Date, the Debtors will, if required by applicable state law, file with


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   the Secretary of State of the appropriate jurisdiction the Amended and Restated
   Governing Documents.

                  H.      Registration Rights Agreeement

   Upon the Effective Date, the Registration Rights Agreement shall be deemed to become
   valid, binding and enforceable in accordance with its terms, and each holder of New
   Common Stock shall be bound thereby, in each case, without need for execution by any
   party thereto other than Reorganized HMH Holdings, provided, however, that each
   holder of a Senior Creditor Claim must register its New Common Stock with
   Reorganized HMH Holdings and execute a signature page to and be bound by the
   Registration Rights Agreement as a condition precedent to receiving its allocation of New
   Common Stock. The Registration Rights Agreement shall contain provisions relating to
   the listing of the New Common Stock on a national securities exchange, the registration
   of securities held by certain stockholders with the SEC, access to information regarding
   the Reorganized Debtors and preemptive rights to purchase securities.

                  I.      Reorganized Debtors’ Management Incentive Plan.

   On the Effective Date of the Plan, the Management Incentive Plan will be implemented
   and will be comprised of the Management Options which are to be options to acquire up
   to ten (10) percent of the total number of fully diluted shares of New Common Stock to
   be outstanding after the Restructuring. The terms of the Management Incentive Plan and
   the Management Options, each of which shall be acceptable to the Debtors and the
   Requisite Participating Lenders, will be set forth in the Plan Supplement.

                  J.      Informal Creditor Group Professionals Fees.

   On the Effective Date, the Reorganized Debtors shall pay the reasonable fees and
   expenses of the Informal Creditor Group Professionals, whether incurred prior to or after
   the Petition Date, in full in Cash without the need for application to, or approval of, the
   Court.

                  K.      Corporate Action.

   Each of the matters provided for by the Plan involving the corporate structure of the
   Debtors or corporate related actions to be taken by or required of the Reorganized
   Debtors shall, as of the Effective Date, have occurred and be effective as provided in the
   Plan (except to the extent otherwise indicated), and shall be authorized, approved, and, to
   the extent taken prior to the Effective Date, ratified in all respects without any
   requirement of further action by holders of Claims or Equity Interests, directors of the
   Debtors, or any other entity.

                  L.      Effectuating Documents; Further Transactions.

   On and after the Effective Date, the Reorganized Debtors and the officers and members
   of the boards of directors thereof, are authorized to and may issue, execute, deliver, file,


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   or record such contracts, securities, instruments, releases, and other agreements or
   documents and take such actions as may be necessary or appropriate to effectuate,
   implement, and further evidence the terms and conditions of the Plan and the securities
   issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors,
   without the need for any approvals, authorization, or consents except for those expressly
   required pursuant to the Plan.

                  M.      Exemption from Certain Taxes and Fees.

   Pursuant to section 1146(a) of the Bankruptcy Code, any transfer from a Debtor to a
   Reorganized Debtor or to any entity pursuant to, in contemplation of, or in connection
   with the Plan or pursuant to: (a) the issuance, distribution, transfer, or exchange of any
   debt, equity security, or other interest in the Debtors or the Reorganized Debtors; (b) the
   creation, modification, consolidation, or recording of any mortgage, deed of trust, or
   other security interest, or the securing of additional indebtedness by such or other means;
   (c) the making, assignment, or recording of any lease or sublease; or (d) the making,
   delivery, or recording of any deed or other instrument of transfer under, in furtherance of,
   or in connection with, the Plan, including any deeds, bills of sale, assignments, or other
   instrument of transfer executed in connection with any transaction arising out of,
   contemplated by, or in any way related to the Plan, shall not be subject to any document
   recording tax, stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real
   estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording
   fee, or other similar tax or governmental assessment, and the Confirmation Order shall
   direct the appropriate state or local governmental officials or agents to forego the
   collection of any such tax or governmental assessment and to accept for filing and
   recordation any of the foregoing instruments or other documents without the payment of
   any such tax or governmental assessment.

                  N.      Powers of Officers.

   The officers of the Debtors or the Reorganized Debtors, as the case may be, shall have
   the power to enter into and to execute any Plan Supplement Document to which the
   Debtors, or the Reorganized Debtors are to be a party and to take such other or further
   action as they deem reasonable and appropriate to effectuate the terms of the Plan.

                                              VIII.

                       EFFECT OF CONFIRMATION OF THE PLAN

                  A.      Continued Corporate Existence.

   The Debtors, as Reorganized Debtors, shall continue to exist after the Effective Date with
   all of the powers of a corporation, partnership or limited liability company, as the case
   may be, under the laws of the State of Delaware or their state of incorporation or
   formation and without prejudice to any right to alter or terminate such existence (whether
   by merger or otherwise) under such applicable state law, except as such rights may be
   limited and conditioned by the Plan and the documents and instruments executed and

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   delivered in connection therewith. In addition, the Reorganized Debtors may operate
   their businesses free of any restrictions imposed by the Bankruptcy Code, the Bankruptcy
   Rules or by the Court, subject only to the terms and conditions of the Plan, the
   Confirmation Order, and the documents and instruments executed and delivered in
   connection with the Plan, including without limitation, the documents and instruments
   included in the Plan Supplement. Notwithstanding the foregoing, on or as of the
   Effective Date or as soon as practicable thereafter and without need for any further
   action, the Reorganized Debtors (with the consent of the Requisite Participating Lenders)
   may (a) cause any or all of the Reorganized Debtors or Foreign Affiliates to be merged
   into one or more of the Reorganized Debtors or Foreign Affiliates, dissolved or otherwise
   consolidated; (b) cause the transfer of assets between or among the Reorganized Debtors
   or Foreign Affiliates; or (c) engage in any other transaction in furtherance of the Plan.

                  B.      Releases of Guarantees and Collateral.

   Upon the Effective Date, the First Lien Agents and the 10.5% Indenture Trustee shall
   release any and all collateral and guarantees with respect to the First Lien Credit
   Agreement and the 10.5% Notes.

                  C.      Dissolution of Creditors’ Committee.

   The Creditors’ Committee (if one is appointed) shall continue in existence until the
   Effective Date and shall continue to exercise those powers and perform those duties
   specified in section 1103 of the Bankruptcy Code and shall perform such other duties as
   it may have been assigned by the Court prior to the Effective Date. On the Effective
   Date, the Creditors’ Committee shall be dissolved and its members shall be deemed
   released of all of their duties, responsibilities and obligations in connection with the
   Chapter 11 Cases or the Plan and its implementation, and the retention or employment of
   the Creditors’ Committee’s attorneys, financial advisors, and other agents, if any, shall
   terminate except that the Creditors’ Committee shall continue to have standing and a
   right to be heard with respect to (i) all Fee Claims, (ii) any appeals of the Confirmation
   Order, (iii) any adversary proceedings pending as of the Effective Date to which it may
   be a party and (iv) post-Effective Date modifications to the Plan.

                  D.      Vesting of Property.

   Except as otherwise expressly provided in the Plan, on the Effective Date, or as soon as
   practicable thereafter, the Reorganized Debtors shall be vested with all of the property of
   the Debtors’ estates free and clear of all Claims, Liens, encumbrances, charges and other
   interests of creditors and equity security holders.

                  E.      Discharge of the Debtors.

   Except as otherwise provided in the Plan, the rights afforded in the Plan, and the
   treatment of all Claims and Equity Interests herein shall be in exchange for and in
   complete satisfaction, discharge, and release of all Claims or Equity Interests of any
   kind or nature whatsoever, whether known or unknown, including any interest

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   accrued or expenses incurred thereon, against or in the Debtors, the Reorganized
   Debtors or any of their respective assets or properties, arising prior to the Effective
   Date. Except as otherwise expressly specified in the Plan, the Confirmation Order
   shall act as of the Effective Date as a discharge of all debts of, Claims against, Liens
   on, and Equity Interests in the Debtors, their respective assets and properties,
   arising at any time before the Effective Date, regardless of whether a proof of Claim
   or Equity Interest with respect thereto was filed, whether the Claim or Equity
   Interest is Allowed, or whether the holder thereof votes to accept the Plan or is
   entitled to receive a Distribution hereunder. Except as otherwise expressly specified
   in the Plan, after the Effective Date, any holder of such discharged Claim or Equity
   Interest shall be precluded from asserting any other or further Claim against, or
   Equity Interest in, the Debtors, the Reorganized Debtors, or any of their respective
   assets or properties, based on any document, instrument, act, omission, transaction,
   or other activity of any kind or nature that occurred before the Effective Date.
   Notwithstanding any provision in the Plan to the contrary, the distribution on
   account, and discharge of Allowed 10.5% Notes Claims will not be dependent on the
   surrender or cancellation of the 10.5% Notes. The 10.5% Indenture Trustee will
   send such notices and take such other actions as are reasonably requested by the
   Debtors to effect the cancellation of the 10.5% Notes held by Cede & Co.

                  F.      Injunction.

   Except as otherwise expressly provided in the Plan, the Confirmation Order, the
   Plan Supplement Documents, or a separate order of the Bankruptcy Court, all
   Persons who have held, hold, or may hold Claims against, or Equity Interests in, the
   Debtors that arose before or were held as of the Effective Date, shall be permanently
   enjoined, on and after the Effective Date, from (a) commencing or continuing in any
   manner any action or other proceeding of any kind against the Debtors or the
   Reorganized Debtors with respect to any such Claim or Equity Interest, (b) the
   enforcement, attachment, collection, or recovery by any manner or means of any
   judgment, award, decree, or order against the Debtors or the Reorganized Debtors
   on account of any such Claim or Equity Interest, (c) creating, perfecting, or
   enforcing any encumbrance of any kind against the Debtors or the Reorganized
   Debtors or against the property or interests in property of the Debtors or the
   Reorganized Debtors on account of any such Claim or Equity Interest and
   (d) asserting any right of setoff or subrogation of any kind against any obligation
   due from the Debtors or the Reorganized Debtors or against the property or
   interests in property of the Debtors or the Reorganized Debtors on account of any
   such Claim or Equity Interest. Such injunction shall extend to successors of the
   Debtors (including, without limitation, the Reorganized Debtors) and their
   respective properties and interests in property.

                  G.      Preservation of Causes of Action.

   The Reorganized Debtors shall retain all rights and all Causes of Action accruing to them
   and their estates, including but not limited to, those arising under sections 505, 544, 547,


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   548, 549, 550, 551, 553 and 1123(b)(3)(B) of the Bankruptcy Code, including all tax
   setoff and refund rights arising under section 505, other than as expressly provided
   below. Except as expressly provided in the Plan or the Confirmation Order, nothing
   contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
   relinquishment of any such rights or Causes of Action. Nothing contained in the Plan or
   the Confirmation Order shall be deemed a waiver or relinquishment of any Claim, Cause
   of Action, right of setoff, or other legal or equitable defense that the Debtors have that is
   not specifically waived or relinquished by the Plan. The Reorganized Debtors shall have,
   retain, reserve and be entitled to assert all such Claims, Causes of Action, rights of setoff
   and other legal or equitable defenses that the Debtors have as fully as if the Chapter 11
   Cases had not been commenced, and all of the Reorganized Debtors’ legal and equitable
   rights respecting any Claim that are not specifically waived or relinquished by the Plan
   may be asserted after the Effective Date to the same extent as if the Chapter 11 Cases had
   not been commenced.

                  H.      Votes Solicited in Good Faith.

   The Debtors have, and upon confirmation of the Plan shall be deemed to have, solicited
   acceptances of the Plan in good faith and in compliance with the applicable provisions of
   the Bankruptcy Code. The Debtors (and each of their respective affiliates, agents,
   directors, officers, members, employees, advisors and attorneys) have participated in
   good faith and in compliance with the applicable provisions of the Bankruptcy Code in
   connection with the Distributions contemplated hereunder and therefore have not been,
   and on account thereof will not be, liable at any time for the violation of any applicable
   law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan
   or the Distributions contemplated hereunder.

                  I.      Mutual Releases.

       On the Effective Date, (a) the Debtors and any non-Debtor guarantors under the
   First Lien Credit Agreement and the 10.5% Notes Indenture, (b) the Senior
   Creditors in their capacity as a First Lien Bank Lender and/or a Bondholder, as
   applicable, (c) the members of the Creditors’ Committee (if any), (d) the DIP
   Lenders and DIP Agents, (e) the First Lien Agents, (f) the 10.5% Indenture Trustee,
   (g) the Existing Equity Holders and (h) each of the respective current and former
   direct and indirect equity holders, members, partners, subsidiaries, affiliates, funds,
   managers, managing members, officers, directors, employees, advisors, principals,
   attorneys, professionals, accountants, investment bankers, consultants, agents, and
   other representatives (including their respective equity holders, members, partners,
   subsidiaries, affiliates, funds, managers, managing members, officers, directors,
   employees, advisors, principals, attorneys, professionals, accountants, investment
   bankers, consultants, agents, and other representatives) and other professionals of
   the parties listed in clauses (a) through (g), including the Informal Creditor Group
   Professionals, in each case, in their respective capacities as such, (collectively clauses
   (a) through (g) being the “Released Parties,” and each a “Released Party”) shall be
   deemed to and hereby unconditionally release and irrevocably discharge each other
   from any and all claims, obligations, suits, judgments, damages, rights, Causes of

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   Action and liabilities whatsoever, whether known or unknown, foreseen or
   unforeseen, existing or hereafter arising, in law, equity or otherwise, based in whole
   or in part on any act, omission, transaction or occurrence from the beginning of
   time through the Effective Date except that (i) no Released Party shall be released
   from any act or omission that constitutes gross negligence, fraud or willful
   misconduct, (ii) the foregoing release shall not apply to (a) any obligations under
   existing contracts and other agreements between any of the Released Parties that
   are not being terminated, extinguished or cancelled pursuant to, in connection with,
   or contemplated by, the Plan and (b) any obligations arising under any contract or
   agreement entered into between any of the Released Parties pursuant to, in
   connection with, or contemplated by, the Plan.

                 J.      Releases by Non-Debtors.

   On and as of the Effective Date, all Persons who directly or indirectly have held,
   hold or may hold Claims or Equity Interests and do not, on their Ballots, opt out of
   providing the releases contemplated by this section, shall be deemed, by virtue of
   their treatment contemplated under the Plan, to have forever released and
   covenanted with the Reorganized Debtors and the other Released Parties not to
   (y) sue or otherwise seek recovery from any of the Reorganized Debtors or any
   other Released Party on account of any Claims or Equity Interests, including but
   not limited to any claim based upon tort, breach of contract, violations of federal,
   state or foreign securities laws or otherwise, based upon any act, occurrence, or
   failure to act from the beginning of time through the Effective Date in any way
   relating to the Debtors or their businesses and affairs or (z) assert against any of the
   Reorganized Debtors or any other Released Party any claim, obligation, right,
   Cause of Action or liability that any holder of Claims or Equity Interests may be
   entitled to assert, whether known or unknown, foreseen or unforeseen, existing or
   hereafter arising, based in whole or in part on any act or omission, transaction, or
   occurrence from the beginning of time through the Effective Date in any way
   relating to the Debtors, the Restructuring Support Agreement, the Chapter 11
   Cases, or the Plan; provided, however, that (i) none of the Released Parties shall be
   released from any act or omission that constitutes gross negligence, fraud or willful
   misconduct, (ii) the foregoing release shall not apply to (a) any obligations under
   existing contracts and other agreements between any of the Released Parties that
   are not being terminated, extinguished or cancelled pursuant to, in connection with,
   or contemplated by, the Plan and (b) any obligations arising under any contract or
   agreement entered into between any of the Released Parties pursuant to, in
   connection with, or contemplated by, the Plan, and (iii) the foregoing release shall
   not be construed to prohibit a party in interest from seeking to enforce the terms of
   the Plan or any contract or agreement entered into pursuant to, in connection with,
   or contemplated by, the Plan. Notwithstanding anything to the contrary in the Plan,
   the releases of the Released Parties shall extend only to claims arising against such
   Released Parties in their capacities as parties in interest in the Chapter 11 Cases.
   Notwithstanding anything to the contrary in the Plan, to the extent a holder of a
   Claim or Equity Interest elects on its Ballot not to grant the releases of the Released


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   Parties, such holder of a Claim or Equity Interest will not be deemed to be a
   Released Party to the extent it would have otherwise qualified as such.

                  K.     Exculpation.

                         1.      Exculpation and Limitation of Liability.

   The Debtors, the Reorganized Debtors and the other Released Parties (i) shall have
   no liability whatsoever to any holder or purported holder of a Claim or Equity
   Interest for any act or omission in connection with, or arising out of, the Plan, the
   Disclosure Statement, the Restructuring Support Agreement, the negotiation of the
   Plan and the Restructuring Support Agreement, the negotiation of the Plan
   Supplement Documents, the Exit Facility, the pursuit of approval of the Disclosure
   Statement or the solicitation of votes for confirmation of the Plan, the Chapter 11
   Cases, the consummation of the Plan, the administration of the Plan or the property
   to be distributed under the Plan, or any transaction contemplated by the Plan, the
   Restructuring Support Agreement or Disclosure Statement or in furtherance
   thereof except for any act or omission that constitutes fraud, willful misconduct or
   gross negligence as determined by a Final Order, and (ii) in all respects, shall be
   entitled to rely upon the advice of counsel with respect to their duties and
   responsibilities under or in connection with the Plan. This exculpation shall be in
   addition to, and not in limitation of, all other releases, indemnities, exculpations and
   any other applicable law or rules protecting such Released Parties from liability.

                         2.      Limitation of Governmental Releases.

   Notwithstanding Articles VIII.J and VIII.K.1 of the Plan, the Plan shall not release,
   discharge, or exculpate any non-Debtor party from any debt owed to the United
   States Government ( the “Government”) and/or its agencies, including the Pension
   Benefit Guaranty Corporation (the “PBGC”), or from any liability arising under
   the Internal Revenue Code, the Employee Retirement Income Security Act of 1974,
   as amended (“ERISA”), or the environmental laws, securities laws or criminal laws
   of the United States. In addition, notwithstanding Articles VIII.J and VIII.K.1 of
   the Plan, the Plan shall not enjoin or prevent the Government from collecting any
   such liability from any such non-Debtor party under the provisions of applicable
   law.

                  L.     Term of Bankruptcy Injunction or Stays.

   All injunctions or stays provided for in the Chapter 11 Cases under sections 105 or 362 of
   the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
   remain in full force and effect until the Effective Date.




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                  M.      Preservation of Insurance.

                          1.      Limitations on Amounts to Be Distributed to Holders of
                                  Allowed Insured Claims

   Distributions under the Plan to each holder of an Allowed Claim that is an Insured Claim
   shall be in accordance with the treatment provided under the Plan for the Class in which
   such Allowed Claim is classified, but solely to the extent that such Allowed Claim is not
   satisfied from proceeds payable to the holder thereof under any pertinent insurance
   policies and applicable law. Nothing in Article VIII.M.1 of the Plan shall constitute a
   waiver of any claims, obligations, suits, judgments, damages, demands, debts, rights,
   causes of action or liabilities that any Person may hold against any other Person,
   including the Debtors’ insurance carriers.

                          2.      Reinstatement and Continuation of Insurance Policies

   Unless otherwise assumed during the pendency of the Chapter 11 Cases, from and after
   the Effective Date, each of the Debtors’ insurance policies in existence on and as of the
   Effective Date shall be reinstated and continued in accordance with its terms and, to the
   extent applicable, shall be deemed assumed by the applicable Reorganized Debtor
   pursuant to section 365 of the Bankruptcy Code.

   The Debtors’ discharge and release from all Claims and Equity Interests, under the Plan,
   shall not diminish or impair the enforceability of any insurance policy that may cover
   Claims against the Debtors, the Reorganized Debtors (including, without limitation, its
   officers and directors) or any other person or entity. Notwithstanding any other provision
   of the Plan or the Confirmation Order, nothing in the Plan shall (i) impair (w) the right of
   any insurer to defend against any claim asserted against such insurer, (x) an insurer’s
   status as a secured creditor to the extent applicable under the terms of the Plan, including
   the right to recover from any Collateral (in accordance with the applicable insurance
   policy), (y) an insurer’s right to draw on third-party letters of credit (in accordance with
   the terms of the applicable insurance policy and letter of credit) or (z) any insurer’s right
   of setoff pursuant to section 553 of the Bankruptcy Code to the extent applicable and/or
   (ii) affect an insurer’s right to seek arbitration of disputes between the Debtors and such
   insurer to the extent provided for under the terms of the applicable insurance agreement.

                  N.      Officers’ and Directors’ Indemnification Rights and Insurance.

   Notwithstanding any other provisions of the Plan, the obligations of the Debtors to
   indemnify their directors, officers, managers and employees against any obligations,
   liabilities, costs or expenses pursuant to the articles of incorporation, bylaws, partnership
   agreements or limited liability company operating agreements of the Debtors, as the case
   may be, applicable state law, specific agreement, or any combination of the foregoing,
   shall survive the Effective Date in all respects.




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                                               IX.

                             RETENTION OF JURISDICTION

   The Court shall have exclusive jurisdiction over all matters arising out of, and related to,
   the Chapter 11 Cases and the Plan pursuant to, and for the purposes of, section 105(a) and
   section 1142 of the Bankruptcy Code and for, among other things, the following
   purposes: (1) to hear and determine applications for the assumption or rejection of
   executory contracts or unexpired leases pending on the Confirmation Date, and the
   allowance of Claims resulting therefrom; (2) to determine any other applications,
   adversary proceedings, and contested matters pending on the Effective Date; (3) to ensure
   that Distributions to holders of Allowed Claims and Equity Interests are accomplished as
   provided herein; (4) to resolve disputes as to the ownership of any Claim or Equity
   Interest; (5) to hear and determine timely objections to Claims and Equity Interests; (6) to
   hear and determine any disputes arising as to the reasonableness of the Indenture Trustee
   Expenses or First Lien Agent Expenses; (7) to enter and implement such orders as may
   be appropriate in the event the Confirmation Order is for any reason stayed, revoked,
   modified or vacated; (8) to issue orders in aid of execution of the Plan, to the extent
   authorized by section 1142 of the Bankruptcy Code; (9) to consider any modifications of
   the Plan, to cure any defect or omission, or to reconcile any inconsistency in any order of
   the Court, including, without limitation, the Confirmation Order; (10) to hear and
   determine all applications for compensation and reimbursement of expenses of
   professionals under sections 330, 331 and 503(b) of the Bankruptcy Code; (11) to hear
   and determine disputes arising in connection with the interpretation, implementation, or
   enforcement of the Plan; (12) to hear and determine any issue for which the Plan requires
   a Final Order of the Court; (13) to hear and determine matters concerning state, local, and
   federal taxes in accordance with sections 346, 505 and 1146 of the Bankruptcy Code;
   (14) to hear and determine any Causes of Action preserved under the Plan under sections
   544, 547, 548, 549, 550, 551 and 553 of the Bankruptcy Code; (15) to hear and determine
   any matter regarding the existence, nature and scope of the Debtors’ discharge; (16) to
   hear and determine any matter regarding the existence, nature, and scope of the releases
   and exculpation provided in Article VIII of the Plan; and (17) to enter a final decree
   closing the Chapter 11 Cases.

                                               X.

                             MISCELLANEOUS PROVISIONS

                  A.      Payment of Statutory Fees.

   All fees payable on or before the Effective Date pursuant to section 1930 of title 28 of the
   United States Code shall be paid by the Debtors on or before the Effective Date and all
   such fees payable after the Effective Date shall be paid by the applicable Reorganized
   Debtor as and when such fees become due.




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                  B.     Modification of the Plan.

                         1.      Pre-Confirmation Modifications.

   The Debtors, with the written consent of the Requisite Participating Lenders, may amend,
   modify or supplement the Plan before the Confirmation Date as provided for in section
   1127 of the Bankruptcy Code; provided, however, that with respect to modifications to
   the treatment of Senior Creditors, the prior written consent of each member of the
   Informal Creditor Group shall be required.

                         2.      Post-Confirmation Immaterial Modifications.

   After the Confirmation Date, the Debtors may, with the written consent of the Requisite
   Participating Lenders, and with the approval of the Court and without notice to all
   holders of Claims or Equity Interests, insofar as it does not materially and adversely
   affect the holders of Claims or Equity Interests, correct any defect, omission or
   inconsistency in the Plan in such manner and to such extent as may be necessary to
   expedite consummation of the Plan; provided, however, that with respect to
   modifications to the treatment of Senior Creditors, the prior written consent of each
   member of the Informal Creditor Group shall be required.

                         3.      Post-Confirmation Material Modifications.

   After the Confirmation Date, the Debtors may, with the written consent of the Requisite
   Participating Lenders, alter, amend or modify the Plan in a manner which, as determined
   by the Court, materially and adversely affects holders of Claims or Equity Interests;
   provided that such alteration, amendment or modification is made after a hearing as
   provided in section 1127 of the Bankruptcy Code; provided, further that, with respect to
   modifications to the treatment of Senior Creditors, the prior written consent of each
   member of the Informal Creditor Group shall be required.

                  C.     Governing Law.

   Unless a rule of law or procedure is supplied by Federal law (including the Bankruptcy
   Code and Bankruptcy Rules), the laws of the State of New York (without reference to the
   conflicts of law provisions thereof) shall govern the construction and implementation of
   the Plan and any agreements, documents, and instruments executed in connection with
   the Plan, unless otherwise specified.

                  D.     Filing or Execution of Additional Documents.

   On or before the Effective Date, the Debtors shall file with the Court or execute, as
   appropriate, such agreements and other documents, in each case, in form and substance
   acceptable to the Requisite Participating Lenders, as may be necessary or appropriate to
   effectuate and further evidence the terms and conditions of the Plan.




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                  E.      Withholding and Reporting Requirements.

   In connection with the Plan and all instruments issued in connection herewith and
   Distributions hereunder, the Debtors and the Reorganized Debtors shall comply with all
   withholding and reporting requirements imposed by any federal, state, local or foreign
   taxing authority and all Distributions hereunder shall be subject to any such withholding
   and reporting requirements.

                  F.      Allocation Between Principal and Accrued Interest.

   For tax purposes, the aggregate consideration paid to holders with respect to their
   Allowed Claims shall be treated pursuant to the Plan as allocated first to the principal
   amount of such Allowed Claim (to the extent thereof) and, thereafter, to interest, if any,
   accrued through the Effective Date.

                  G.      Waiver of Bankruptcy Rule 3020(e) and Federal Rule of Civil
                          Procedure 62(a).

   The Debtors may, with the consent of the Requisite Participating Lenders, request that
   the Confirmation Order include (a) a finding that Bankruptcy Rule 3020(e) and Fed. R.
   Civ. P. 62(a) shall not apply to the Confirmation Order and (b) authorization for the
   Debtors to consummate the Plan immediately after entry of the Confirmation Order.

                  H.      Exhibits/Schedules.

   All exhibits and schedules to the Plan and the Plan Supplement are incorporated into and
   constitute a part of the Plan as if fully set forth herein.

                  I.      Notices.

   All notices, requests, and demands hereunder to be effective shall be in writing and,
   unless otherwise expressly provided herein, shall be deemed to have been duly given or
   made when actually delivered or, in the case of notice by facsimile transmission, when
   received and telephonically confirmed, addressed as follows:

   To the Debtors: Houghton Mifflin Harcourt Publishing Company, 222 Berkeley Street,
   Boston, Massachusetts 02116, attention: Mr. Bill Bayers, with a copy to (i) Paul, Weiss,
   Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New York
   10019-6064, attention: Alan W. Kornberg and Jeffrey D. Saferstein,
   Tel.: (212) 373-3000, Fax: (212) 757-3990.

   To the Informal Creditor Group: In care of (i) Akin Gump Strauss Hauer & Feld LLP,
   One Bryant Park, New York, New York 10036, Attn: Ira Dizengoff and Philip Dublin,
   Tel: (212) 872-8012, Fax: (212) 872-1002.

   To the Creditors’ Committee (if any): In care of counsel to the Committee.



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                  J.      Plan Supplement.

   Forms of the documents relating to the Registration Rights Agreement, the New Warrant
   Agreement, the Reorganized HMH Holdings Certificate of Incorporation, the
   Reorganized HMH Holdings Bylaws, the identities, terms and nature of the compensation
   of the Reorganized Debtors’ senior officers and directors, the other Amended and
   Restated Governing Documents, documents relating to the Management Incentive Plan
   and such other documents and information as the Debtors, with the consent of the
   Requisite Participating Lenders, determine to be necessary or appropriate to the
   implementation and/or confirmation of the Plan shall be contained in the Plan
   Supplement, which will be filed with the Clerk of the Court no later than ten (10) days
   prior to the Confirmation Hearing; provided, however, that the Debtors, with the consent
   of the Requisite Participating Lenders, may alter, amend or modify any of the Plan
   Supplement Documents through and including the Effective Date in a manner consistent
   with the Plan.

   The Plan Supplement may be inspected in the office of the Clerk of the Court during
   normal Court hours and shall be available online at the Voting Agent’s website at HMH’s
   dedicated web page: kccllc.net/hmhco. Holders of Claims or Equity Interests may also
   obtain a copy of the Plan Supplement upon written request to the Debtors in accordance
   with Article X.I. of the Plan.

                  K.      Conflicts.

   The terms of the Plan shall govern in the event of any inconsistency between the Plan and
   the summary of the Plan set forth in the Disclosure Statement. The terms of the
   Confirmation Order shall govern in the event of any inconsistency between the
   Confirmation Order and the Plan or the summary of the Plan set forth in the Disclosure
   Statement.

                  L.      Setoff by the United States.

   The valid setoff rights, if any, of the United States of America will be unaffected by the
   Plan or confirmation hereof.

                                               XI.

                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                  A.      Assumption and Rejection of Executory Contracts and
                          Unexpired Leases.

   Except as otherwise provided in the Plan, or in any contract, instrument, release,
   indenture, or other agreement or document entered into in connection with the Plan, as of
   the Effective Date, the Debtors shall be deemed to have assumed each executory contract
   and unexpired lease to which they are party, unless such contract or lease (i) was
   previously assumed or rejected by the Debtors, (ii) previously expired or terminated


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   pursuant to its terms, (iii) is the subject of a motion to reject filed by the Debtors on or
   before the Confirmation Date, or (iv) is set forth in a schedule, as an executory contract
   or unexpired lease to be rejected, if any, filed by the Debtors as part of the Plan
   Supplement. The Confirmation Order shall constitute an order of the Court under
   sections 365 and 1123(b) of the Bankruptcy Code approving the contract and lease
   assumptions or rejections described above, as of the Effective Date. For the avoidance of
   doubt, as described herein, the forgoing does not apply to (x) benefit plans, which are
   specifically dealt with in Article XII of the Plan, or (y) insurance policies, which are
   specifically dealt with in Article VIII.M of the Plan.

   Each executory contract and unexpired lease that is assumed and relates to the use, ability
   to acquire, or occupancy of real property shall include (a) all modifications, amendments,
   supplements, restatements, or other agreements made directly or indirectly by any
   agreement, instrument or other document that in any manner affects such executory
   contract or unexpired lease and (b) all executory contracts or unexpired leases
   appurtenant to the premises, including all easements, licenses, permits, rights, privileges,
   immunities, options, rights of first refusal, powers, uses, usufructs, reciprocal easement
   agreements, vaults, tunnel or bridge agreements or franchises, and any other interests in
   real estate or rights in rem related to such premises, unless any of the foregoing
   agreements have been rejected pursuant to an order of the Court.

                  B.      Cure.

   Any monetary amounts by which any executory contract or unexpired lease to be
   assumed under the Plan is in default shall be satisfied, under section 365(b)(1) of the
   Bankruptcy Code, by the Reorganized Debtors upon assumption thereof or as soon as
   practicable thereafter. If there is a dispute regarding (i) the nature or amount of any cure,
   (ii) the ability of the Debtors or any assignee to provide ―adequate assurance of future
   performance‖ (within the meaning of section 365 of the Bankruptcy Code) under the
   contract or lease to be assumed or (iii) any other matter pertaining to assumption, any
   cure shall occur following the entry of a Final Order resolving the dispute and approving
   the assumption or assumption and assignment, as applicable.

                  C.      Rejection Damage Claims.

   All Claims for damages arising from the rejection of executory contracts or unexpired
   leases must be served upon the Debtors and their counsel within thirty (30) days after the
   date of entry of an order of the Court approving such rejection. Any Claims not filed
   within such time shall be forever barred from assertion against the Debtors, their
   respective estates and the Reorganized Debtors and their respective property. All
   Allowed Claims arising from the rejection of executory contracts or unexpired leases
   shall be treated as Class 5 –General Unsecured Claims.




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                                              XII.

                                      BENEFIT PLANS

   As, and subject to the occurrence, of the Effective Date, all employee compensation and
   benefit plans, policies and programs of the Debtors applicable generally to their
   employees, including agreements and programs subject to section 1114 of the Bankruptcy
   Code, as in effect on the Effective Date, including, without limitation, all savings plans,
   retirement plans, health care plans, disability plans, severance benefit plans, incentive
   plans, and life, accidental death, and dismemberment insurance plans and workers’
   compensation programs, shall be deemed to be, and shall be treated as though they are,
   executory contracts that are assumed under the Plan, and the Debtors’ obligations under
   such agreements and programs shall survive the Effective Date of the Plan, without
   prejudice to the Reorganized Debtors’ rights under applicable non-bankruptcy law to
   modify, amend, or terminate the foregoing arrangements, except for (i) such executory
   contracts or plans specifically rejected pursuant to the Plan (to the extent such rejection
   does not violate section 1114 of the Bankruptcy Code) and (ii) such executory contracts
   or plans that have previously been terminated or rejected, pursuant to a Final Order, or
   specifically waived by the beneficiaries of such plans, contracts or programs.

   The Debtors and the Reorganized Debtors, as the case may be, will continue to be the
   contributing sponsors of all pension plans which are defined as benefit pension plans by
   the PBGC under Title IV of ERISA. The Confirmation Order shall provide that (i) such
   pension plans are subject to minimum funding requirements of ERISA and section 412 of
   the Internal Revenue Code, (ii) no provision of the Plan, the Confirmation Order, or
   section 1141 of the Bankruptcy Code, shall, or shall be construed to, discharge, release or
   relieve the Debtors or any other party, in any capacity, from any liability with respect to
   such pension plans under ERISA or under Internal Revenue Code section 412 and
   (iii) neither the PBGC nor such pension plans shall be enjoined from enforcing such
   liability as a result of the Plan’s provisions for satisfaction, release and discharge of
   Claims.

                                             XIII.

               CONFIRMATION AND EFFECTIVENESS OF THE PLAN

                  A.     Conditions Precedent to Confirmation.

   The Plan shall not be confirmed by the Court unless and until the following conditions
   have been satisfied in full or waived pursuant to Article XIII.C. of the Plan:

                  1.     The Plan shall be in form and substance acceptable to the Debtors
                         and the Requisite Participating Lenders and, with respect to the
                         treatment of Senior Creditors, each of the members of the Informal
                         Creditor Group;




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                  2.     The Debtors shall have submitted to the Court a proposed
                         Confirmation Order, in form and substance acceptable to the
                         Debtors and the Requisite Participating Lenders;

                  3.     The Interim DIP Order shall have been entered in form and
                         substance acceptable to the Debtors and the Requisite Participating
                         Lenders, and the Debtors shall have indefeasibly paid the Adequate
                         Protection Payments to the Senior Creditors; and

                  4.     All documents to be executed, delivered or filed pursuant to the
                         Plan, including all Plan Supplement Documents, shall be in form
                         and substance acceptable to the Debtors and the Requisite
                         Participating Lenders.

                  B.     Conditions Precedent to Effectiveness.

   The Plan shall not become effective unless and until it has been confirmed and the
   following conditions have been satisfied in full or waived pursuant to Article XIII.C. of
   the Plan:

                  1.      The Plan shall be in form and substance acceptable to the Debtors
                         and the Requisite Participating Lenders and, with respect to the
                         treatment of Senior Creditors, each of the members of the Informal
                         Creditor Group;

                  2.      The Confirmation Order shall have been entered in form and
                          substance acceptable to the Debtors and the Requisite Participating
                          Lenders, and no stay or injunction shall be in effect precluding the
                          consummation of the transactions contemplated by the Plan;

                  3.      The Exit Facility, which shall be in form and substance acceptable
                          to the Debtors and the Requisite Participating Lenders, shall have
                          been entered into by the Reorganized Debtors and the other parties
                          thereto and all conditions to the initial borrowings under the Exit
                          Facility shall have been satisfied in accordance with the terms
                          thereof (but for the occurrence of the Effective Date);

                  4.      All undisputed statutory fees then due and payable to the United
                          States Trustee shall have been paid in full;

                  5.      All documents to be executed, delivered or filed pursuant to the
                          Plan, including all Plan Supplement Documents, shall be in form
                          and substance acceptable to the Debtors and the Requisite
                          Participating Lenders and such documents shall be executed,
                          delivered or filed, as the case may be; and

                 6.      All actions, authorizations, filings, consents and regulatory
                         approvals required (if any) shall have been obtained, effected or

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                          executed in a manner acceptable to the Debtors and the Requisite
                          Participating Lenders and shall remain in full force and effect.

                  C.      Waiver of Conditions.

   The Debtors may waive any or all of the conditions set forth in Article XIII.A. or XIII.B.
   (other than XIII.B.2.) of the Plan at any time, with the prior written consent of the
   Requisite Participating Lenders without leave or order of the Court and without any
   formal action; provided, however, that the prior written consent of each member of the
   Informal Creditor Group shall be required to waive the Plan treatment conditions in
   Articles XIII.A.1 and XIII.B.1.

                  D.      Effect of Failure of Conditions.

   In the event that the Effective Date does not occur on or prior to thirty (30) days after the
   Confirmation Order is entered by the Court or such later date as may be agreed to by the
   Debtors and the Requisite Participating Lenders upon notification submitted by the
   Debtors to the Court: (a) the Confirmation Order shall be vacated, (b) no Distributions
   under the Plan shall be made, (c) the Debtors and all holders of Claims and Equity
   Interests shall be restored to the status quo ante as of the day immediately preceding the
   Confirmation Date as though the Confirmation Date had never occurred, and (d) the
   Debtors’ obligations with respect to the Claims and Equity Interests shall remain
   unchanged and nothing contained in the Plan shall constitute or be deemed a waiver or
   release of any Claims or Equity Interests by or against the Debtors or any other person or
   to prejudice in any manner the rights of the Debtors or any person in any further
   proceedings involving the Debtors.

                  E.      Denial of Confirmation/Vacatur of Confirmation Order.

   If a Final Order denying confirmation of the Plan is entered, or if the Confirmation Order
   is vacated, then the Plan shall be null and void in all respects, and nothing contained in
   the Plan shall (a) constitute a waiver or release of any Claims against or Equity Interests
   in the Debtors; (b) prejudice in any manner the rights of the holder of any Claim against,
   or Equity Interest in, the Debtors; (c) prejudice in any manner any right, remedy or claim
   of the Debtors; or (d) be deemed an admission against interest by the Debtors.

                  F.      Revocation, Withdrawal, or Non-Consummation.

                          1.      Right to Revoke or Withdraw.

   The Debtors reserve the right to revoke or withdraw the Plan in accordance with their
   fiduciary duties or otherwise with the consent of the Requisite Participating Lenders at
   any time prior to the Effective Date.




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                         2.      Effect of Withdrawal, Revocation, or
                                 Non-Consummation.

   If the Debtors revoke or withdraw the Plan prior to the Effective Date, or if the
   Confirmation Date or the Effective Date does not occur, the Plan, any settlement or
   compromise embodied in the Plan (including the fixing or limiting to an amount certain
   any Claim or Equity Interest or Class of Claims or Equity Interests), the assumption or
   rejection of executory contracts, unexpired leases, insurance policies or benefit plans
   effected by the Plan, any release, exculpation or indemnification provided for in the Plan,
   and any document or agreement executed pursuant to the Plan shall be null and void. In
   such event, nothing contained herein, and no acts taken in preparation for consummation
   of the Plan, shall be deemed to constitute a waiver or release of any Claims by or against
   or Equity Interests in the Debtors or any other Person, to prejudice in any manner the
   rights of the Debtors or any Person in any further proceedings involving the Debtors, or
   to constitute an admission of any sort by the Debtors or any other Person.




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   Dated: May 11, 2012


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